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12   ALI JARRAHI, MICHAEL TOMKO, KENNETH
     HELMAN, and BRIDGETTE WALDEMAR,
13   individually and on behalf of the Putative Class, and
     Plaintiff K.M.S., a minor by and through his
14   Guardian ad Litem YUN SOO OH
15
16                             UNITED STATES DISTRICT COURT
17                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
19   JI CHANG SON, GHODRAT                         )     Case No.: 8:16-cv-02282-JVS-KES
     KHANSARI, MADHUSUDHANA                        )
20   SHASTRULA, ALI JARRAHI,                       )     Judge Assigned: Hon. James V. Selna
     MICHAEL TOMKO, KENNETH                        )     Complaint filed: December 30, 2016
21   HELMAN, and BRIDGETTE                         )
     WALDEMAR, individually and on behalf )              SECOND AMENDED CLASS ACTION
22   of all others similarly situated, and K.M.S., )     COMPLAINT
     a minor by and through his Guardian ad )
23   Litem YUN SOO OH,                             )
                                                   )       1. Violation of the California Consumer
24                 Plaintiffs,                     )          Legal Remedies Act, Cal. Civ, Code
                                                   )          § 1750, et seq.
25          v.                                     )       2. Violation of California Unfair
                                                   )          Competition Law, Cal. Bus. & Prof.
26   TESLA, INC.,                                  )
                                                   )          Code § 17200, et seq.
27                 Defendant.                      )       3. Violation of California False
                                                   )          Advertising Law, Cal. Bus. & Prof.
28                                                 )          Code § 17500, et seq.
                                                   )
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 1                                         )     4. Breach of Express Warranty, Cal.
                                           )        Com. Code § 2313
 2                                         )     5. Breach of the Implied Warranty of
                                           )        Merchantability, Cal. Com. Code
 3                                         )        § 2314
                                           )     6. Breach of Written Warranty under the
 4                                         )        Magnuson-Moss Warranty Act, 15
                                           )        U.S.C. § 2301, et seq.
 5                                         )     7. Breach of Contract/Common Law
                                           )        Warranty
 6                                         )     8. Violation of the Song-Beverly
                                           )        Consumer Warranty Act for Breach of
 7                                         )        Express Warranties, Cal. Civ. Code
                                           )
 8                                         )        § 1793.2(d) & 1791.2
                                           )     9. Violation of the Song-Beverly
 9                                         )        Consumer Warranty Act for Breach of
                                           )        Implied Warranty of Merchantability,
10                                         )        Cal. Civ. Code § 1792 & 1791.1
                                           )     10.Strict Product Liability
11                                         )     11.Strict Product Liability (Failure to
                                           )        Warn)
12                                         )     12.Negligence
                                           )     13.Violation of Georgia’s Uniform
13                                         )        Deceptive Trade Practices Act, Ga.
                                           )        Code Ann. § 10-1-370, et seq.
14                                         )     14.Breach of Express Warranty, Ga.
                                           )        Code Ann. § 11-2-313
15                                         )     15.Breach of the Implied Warranty of
                                           )        Merchantability, Ga. Code Ann. § 11-
16                                         )        2-314
                                           )     16.Breach of Contract/Common Law
17                                         )        Warranty (Based on Georgia Law)
                                           )     17.Unjust Enrichment (Based on Georgia
18                                         )        Law)
                                           )     18.Breach of the Implied Warranty of
19                                         )        Merchantability, N.C. Gen. Stat. § 25-
                                           )
20                                         )        2-314
                                           )     19.Breach of Contract/Common Law
21                                         )        Warranty (Based On North Carolina
                                           )        Law)
22                                         )     20.Unjust Enrichment (Based on North
                                           )        Carolina Law)
23                                         )     21.Violation of Ohio Consumer Sales
                                           )        Practices Act, Ohio Rev. Code Ann.
24                                         )        § 1345.01, et seq.
                                           )     22.Breach of Express Warranty, Ohio
25                                         )        Rev. Code Ann. § 1302.26, et seq.
                                           )        (U.C.C. § 2-313)
26                                         )     23.Ohio Breach of Implied Warranty of
                                           )        Merchantability - Strict Liability,
27                                         )        Ohio Rev. Code Ann. § 1302.27
                                           )        (U.C.C. § 2-314)
28                                         )     24.Ohio Negligent Design, Engineering
                                           )        & Manufacture (Based on Ohio Law)
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 1                                         )     25.Unjust Enrichment (Based on Ohio
                                           )        Law)
 2                                         )     26.Violation of New Jersey Consumer
                                           )        Fraud Act, N.J. Stat. Ann. § 56:8-1, et
 3                                         )        seq.
                                           )     27.Breach of Express Warranty, N.J.
 4                                         )        Stat. Ann. § 12A:2-313
                                           )     28.Breach of the Implied Warranty of
 5                                         )        Merchantability, N.J. Stat. Ann.
                                           )        § 12A:2-314
 6                                         )     29.Breach of Contract/Common Law
                                           )        Warranty (Based on New Jersey Law)
 7                                         )     30.Unjust Enrichment (Based on New
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 8                                         )        Jersey Law)
                                           )     31.Violation of Florida Deceptive and
 9                                         )        Unfair Trade Practices Act, Fla. Stat.
                                           )        § 501.203(7), et seq.
10                                         )     32.Breach of Express Warranty, Fla. Stat.
                                           )        § 672.313
11                                         )     33.Breach of the Implied Warranty of
                                           )        Merchantability, Fla. Stat. § 672.314
12                                         )     34.Breach of Contract/Common Law
                                           )        Warranty (Based on Florida Law)
13                                         )     35.Unjust Enrichment (Based on Florida
                                           )        Law)
14                                         )
                                           )      DEMAND FOR JURY TRIAL
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 1         Plaintiffs Ji Chang Son, Ghodrat Khansari, Madhusudhana Shastrula, Ali Jarrahi,
 2   Michael Tomko, Kenneth Helman, and Bridgette Waldemar, individually and on behalf
 3   of all others similarly situated, and K.M.S., a minor by and through his Guardian ad
 4   Litem Yun Soo Oh, herein allege as follows:
 5                                                 I
 6                                       INTRODUCTION
 7   A.    Tesla Vehicles Are Computers on Wheels
 8         1.     In 2008, Tesla, Inc., (“Tesla”) first entered the vehicle market with the
 9   production of the Tesla Roadster, an all-electric sports car. In 2012, it began selling the
10   Model S, an all-electric luxury sedan. Following a series of delays, Tesla began selling
11   the Model X,1 an all-electric luxury crossover sports utility vehicle (“SUV”) in the fourth
12   quarter of 2015.
13         2.     Tesla is led by technology pioneer and visionary entrepreneur Elon Musk,
14   who has parlayed his successes in Zip2 and PayPal, to transform the automobile industry
15   with Tesla, and the private space industry with SpaceX.
16         3.     Elon Musk’s strategy with Tesla was to enter the automotive market with a
17   highly technical high-end and expensive vehicle that would appeal to environmentally
18   conscious consumers who value cutting-edge technology, luxury, high-performance, and
19   safety.
20         4.     The Tesla vehicles are like no other vehicles that have ever been mass
21   produced. As reported by the Los Angeles Times on March 19, 2015, Elon Musk said in
22   connection with releasing software updates on the Model S, “We really designed the
23   Model S to be a very sophisticated computer on wheels.” That is just as true with the
24   Model X as the Model S. Elon Musk went to on to say: “Tesla is a software company as
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       Following the delivery of the 6 Founders’ Series vehicles at the launching ceremony for
28   the Model X, Tesla only sold approximately 206 Model X vehicles in the fourth quarter
     of 2015. Sales really began in the first quarter of 2016.
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 1   much as it is a hardware company. A huge part of what Tesla is, is a Silicon Valley
 2   software company.”
 3         5.     Part of the excitement that Elon Musk and Tesla have created in the
 4   automotive market segment is being a market and technology leader in the self-driving
 5   technology. This technology allows the vehicle to operate on its own, and to make
 6   drivers’ decisions for them. Engineers are responsible to anticipate all of the different
 7   foreseeable scenarios vehicles are expected to encounter, and to program the computer
 8   systems in the vehicle to anticipate and make decisions to safely operate the vehicle. Part
 9   of the excitement around this technology is the potential for preventing driver errors in
10   judgment under times of high stress.
11         6.     As reported by Electrek in December 2015, Elon Musk announced that the
12   technology is so advanced that the Tesla has the ability to not only track the vehicle in
13   front of it, but also the two vehicles in front of it. It has the ability to see through rain,
14   fog, snow, and dust to see and react to objects. Elon Musk went on to proclaim that
15   within two years Tesla would have a fully autonomous vehicle that could operate in any
16   condition and on any road. In October 2016, Elon Musk stated that from now on, all new
17   Tesla cars will have full self-driving capabilities.
18         7.     The highly-touted ability of the Tesla vehicle computers to understand their
19   environment is futuristic. The vehicle is programmed to remember where home is, to
20   remember the preferred routes of going home, to open the garage door at home, and to
21   raise the suspension when the driver gets home to better handle the slope of the driveway.
22   Astoundingly, the driver can exit the vehicle and the Tesla will open the garage door,
23   enter the garage, park itself, and shut down without a driver operating the vehicle. It also
24   can be summoned by a driver with a cell phone – the vehicle, without a driver, will open
25   the garage door, exit the garage, and drive itself to the driver who summoned the car.
26         8.     As is true for all computers, however, Tesla vehicles are only as good as the
27   hardware, engineering, and programming of their onboard computers. As even casual
28   computer users know, even the most sophisticated and successful computer companies in

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 1   history, such as Microsoft and Apple, regularly release computers and software with
 2   bugs, glitches, and unanticipated problems that cause their computers to unexpectedly
 3   crash, malfunction, or work differently than intended. These bugs have serious
 4   consequences for users of traditional computer products. But for a computer that controls
 5   a 5,000 pound machine that can explosively accelerate from a standstill to 60 miles per
 6   hour in under 3 seconds, the consequences of a computer glitch can be catastrophic. For
 7   that reason, there has to be zero-tolerance for any glitch, bug, or malfunction - a goal no
 8   computer company has ever been able to achieve.
 9         9.       Tesla is no exception. In a high-profile fatality accident in Florida where the
10   vehicle’s computer system failed to recognize the presence of a fixed object, Tesla’s
11   response, as reported by the New York Times, was to issue a statement stating that the
12   use of this technology “requires explicit acknowledgement that the system is new
13   technology.”
14         10.      Part of the solution is that Tesla computers learn in order to carry out the
15   driver’s instructions, and to protect the driver while doing so. As stated by Elon Musk, as
16   reported in Wired on September 11, 2016, “We’re adding 1.5 million miles per day on
17   Autopilot,” and all vehicles learn at once. So just as with traditional computers, patches
18   and software updates can be downloaded remotely to remedy glitches, bugs, and
19   problems that were not anticipated by the programming engineers.
20   B.    The Sudden Unintended Acceleration Problems with Tesla Vehicles
21         11.      Tesla first introduced its Model S sedan in 2012. According to Tesla, the
22   “Model S is designed from the ground up to be the safest, most exhilarating sedan on the
23   road. The Model S can accelerate from 0 to 60 miles per hour in as little as 2.5 seconds.”
24         12.      Beginning in September 2014, all Tesla Model S vehicles were
25   manufactured with a camera mounted at the top of the windshield, forward looking radar,
26   and ultrasonic acoustic location sensors that provide the vehicle’s computer with a 360-
27   degree view around the car. This equipment allowed the Model S to detect road signs,
28   lane markings, obstacles, and other vehicles. Beginning in October 2016, Tesla upgraded

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 1   this hardware in all new Model S vehicles to include 8 surround cameras and 12
 2   ultrasonic sensors.
 3         13.    Model S vehicles operate with an electronic acceleration control system by
 4   which complex computer and sensor systems communicate an accelerator pedal’s
 5   position to the vehicle’s onboard computers, telling the vehicle how fast it should go.
 6         14.    From the introduction of the Model S in 2012 through June 2016, Tesla has
 7   sold approximately 75,000 Model S vehicles in the United States.
 8         15.    The launch of the Model X was one of the most anticipated vehicle launches
 9   of all times. A futuristic looking electric luxury high-performance crossover SUV, it had
10   originally been slated for release in 2014.
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25         16.    But it was not until the very end of 2015, that it was actually released. The
26   delay was as a result of technological and mechanical challenges. Following the release,
27   problems arose almost immediately. A lawsuit was filed, and later settled, that
28   highlighted the electronic nature of the problems, including the electronically activated

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 1   doors that opened and closed unpredictably, the electronic self-parking feature that failed
 2   to work, and other reported electronic problems with the vehicle, such as the
 3   electronically activated windows failing to open or close. As reported by ABC News on
 4   April 5, 2016, Tesla’s explanation for the electronic problems experienced by the Tesla X
 5   was “hubris in adding too much new technology to the Model X in version 1.”
 6         17.    Since the introduction of the Model X in the fourth quarter of 2015 through
 7   the end of 2016, Defendant Tesla, Inc., has sold approximately 18,240 Model X vehicles
 8   throughout the United States. Model X vehicles operate with an electronic acceleration
 9   control system by which complex computer and sensor systems communicate an
10   accelerator pedal’s position to the vehicle’s onboard computers, telling the vehicle how
11   fast it should go.
12         18.    Able to accelerate from zero to sixty miles per hour in 2.9 to 3.8 seconds
13   (depending on battery pack) and equipped with advanced safety features including
14   Forward Collision Warning and Advanced Early Braking, Tesla proclaims that the Model
15   X is “the safest, fastest and most capable sport utility vehicle in history.”
16         19.    In press releases, sales literature, brochures, online statements, and other
17   consumer-oriented documents, Tesla has consistently promoted “safety” as top priority in
18   all its vehicles, generally, and in the Model X, specifically.
19         20.    What has become evident, however, is that Tesla vehicles are susceptible to
20   sudden unintended acceleration (“SUA”), in which the vehicles will accelerate at full
21   power even though the driver reports that they did not command the acceleration by
22   pressing on the accelerator pedal, either at all or not to the degree that would call for the
23   application of full power.
24         21.    In the four years since the introduction of the Model S, there have been 13
25   reports to the National Highway Traffic Safety Administration in which Model S drivers
26   report having experienced full power acceleration either while in the act of parking the
27   Model S or while driving at slow speed, 12 of which resulted in a crash of the vehicle,
28   just as both Plaintiff Khansari and Plaintiff Tomko’s spouse experienced.

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 1         22.    In the first full year of production since the Model X was first introduced,
 2   Tesla has received, or is otherwise aware of, thirteen nearly identical instances in which
 3   drivers of the Model X experienced full power acceleration either while in the act of
 4   parking the Model X or while driving the Model X at slow speed, ten of which resulted in
 5   a crash of the vehicle, precisely like Plaintiff Son herein experienced as shown below,
 6   crashing through the wall that separated his garage from his living room.
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13         23.    Ten of these are known to have been submitted to the National Highway
14   Traffic Safety Administration’s (“NHTSA”) publicly available complaints database that,
15   based on information and belief, is monitored by Tesla. As illustrated by one of those
16   instances, this picture shows a pattern similar to Plaintiffs’ incidents.
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 1         24.    In addition to the ten reports to NHTSA, there are at least three additional
 2   SUA events, including Plaintiff Son’s, Plaintiff Jarrahi’s, and another experienced by a
 3   driver of a Model X that did not result in an accident. That other SUA event, which
 4   mirrored the SUA incident experienced by Plaintiff Son – but did not result in a collision
 5   – was reported to Tesla, but Tesla took no action. Based on that fact, there are likely
 6   other Model X SUA events that Tesla is aware of but not recorded in the NHTSA
 7   database.
 8         25.    Sudden Unintended Acceleration (“SUA”) is a well-known safety issue.
 9   Though relatively rare, the danger of a vehicle accelerating uncontrollably is obvious.
10   According to a study by NASA of unintended acceleration reports to the National
11   Highway Traffic Administration from 2000 to 2010, there rate of SUA incidents was 1
12   per 100,000 vehicles per year.
13         26.    In 2010, the issue became very public when Toyota Motor Company was
14   sued by hundreds of injured parties for claimed SUA events in their vehicles. Toyota
15   Motor Company paid hundreds of millions of dollars in settlement to victims and owners
16   for the claim that there was an electrical defect in the Toyota vehicles that caused SUA
17   events. It also paid the United States government $1.2 billion for concealing this safety
18   defect. According to a December 2009 Consumer Reports2 analysis of SUA event ratio
19   for Toyota’s 2008 model year vehicles, their reported events were 2 per 100,000 vehicles
20   (1 per 50,000 vehicles), or double the average reported by NHTSA.
21         27.    By comparison, within the first year of Model X vehicles being on the road,
22   and with only 18,240 Model X vehicles in use (the vast majority of which have been on
23   the road significantly less than one year), there have been thirteen (13) reported incidents
24   of sudden unintended acceleration -- a staggeringly high rate of SUA incidents of 71 per
25   100,000 vehicles per year.
26
27   2
      http://www.consumerreports.org/cro/news/2009/12/analysis-shows-over-40-percent-of-
28   sudden-acceleration-complaints-involve-toyotas/index.htm (last viewed on December 29,
     2016).
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13   C.     Cause of the SUA Events
14          28.    There are different causes of SUA events. They can be caused by a problem
15   with the vehicle, by a driver error in pedal misapplication, or a combination of a problem
16   with the vehicle causing pedal misapplication. For the Model S, of the 14 SUA events
17   reported to NHTSA (one of the 13 reports actually reported two independent SUA
18   events), nine of SUA events occurred while the driver was in the process of parking the
19   vehicle, and all but one of 14 events resulted in a collision. For the Model X, remarkably
20   all ten of the reported SUA events occurred while the driver was in the process of parking
21   the Model X, all but one of which resulted in a collision. The reported Tesla SUA
22   incidents are eerily similar to the circumstances of the SUA events experienced by
23   Plaintiffs.
24          29.    Irrespective of whether the SUA events in the Tesla vehicles are caused by
25   mechanical issues with the accelerator pedal, an unknown failure in the electronic motor
26   control system, a failure in other aspects of the electrical, mechanical, or computer
27   systems, or some instances of pedal misapplication, the Model S and Model X are
28   defective and unsafe.

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 1         30.    Despite its knowledge of the problem, Tesla has failed to properly disclose,
 2   explain, fix, or program safeguards to correct the underlying problem of unintended
 3   acceleration. This leaves tens of thousands of Tesla owners with vehicles that could
 4   potentially accelerate out of control.
 5         31.    Tesla’s lack of response to this phenomenon is even more confounding when
 6   the vehicle is already equipped with the hardware necessary for the vehicle’s computer to
 7   be able to intercede to prevent unintended acceleration into fixed objects such as walls,
 8   fences, and buildings.
 9         32.    As set forth in more detail below, Tesla equips all its Model X vehicles, and
10   has equipped its Model S vehicles since March 2015, with Automatic Emergency
11   Braking whereby the vehicle computer will use the forward looking camera and the radar
12   sensor to determine the distance from objects in front of the vehicle. When a frontal
13   collision is considered unavoidable, Automatic Emergency Braking is designed to
14   automatically apply the brakes to reduce the severity of the impact. But Tesla has
15   programmed the system to deactivate when it receives instructions from the accelerator
16   pedal to drive full speed into a fixed object. Tesla has stated that Automatic Emergency
17   Braking will operate only when driving between 5 mph (8 km/h) and 85 mph (140 km/h),
18   but the vehicle will not automatically apply the brakes, or will stop applying the brakes,
19   “in situations where you are taking action to avoid a potential collision. For example:
20         • You turn the steering wheel sharply.
21         • You press the accelerator pedal.
22         • You press and release the brake pedal.
23         • A vehicle, motorcycle, bicycle, or pedestrian, is no longer detected ahead.”
24         33.    Apparently, this includes situations where the computer believes, rightly or
25   wrongly, that the driver is commanding full throttle acceleration directly into fixed
26   objects immediately in front of the vehicle. Tesla has designed and manufactured a
27   vehicle that is capable of accelerating from zero to 60 miles per hour in 2.9 seconds –
28   acceleration that was previously achievable only in a select number of exotic sports cars –

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 1   and equipped the vehicle with the ability to sense objects in its path and brake
 2   automatically to prevent or minimize frontal impacts, but Tesla has programmed these
 3   systems to allow the Model S and Model X to engage full throttle acceleration into fixed
 4   objects, such as walls, fences, and beams, that are in the direct path and immediate
 5   proximity of the vehicle.
 6         34.     Despite repeated instances of Tesla drivers reporting uncommanded full
 7   power acceleration while parking, Tesla has failed to develop and implement computer
 8   algorithms that would eliminate the danger of full power acceleration into fixed objects.
 9   This failure to provide a programming fix is especially confounding for a vehicle that
10   knows when it is located at the driver’s home and is being parked in the garage, yet
11   carries out an instruction, regardless of whether through an error by the vehicle control
12   systems or by driver pedal misapplication, to accelerate at full power into the garage wall.
13         35.     Further, not only has Tesla failed to fix the problems, it has chosen instead
14   to follow in the footsteps of other automobile manufacturers and simply blame the driver.
15   As Toyota Motor Company learned not long ago, blaming the driver for inexplicable and
16   preventable instances of full throttle acceleration is no longer acceptable. That is
17   especially true for a disruption company that seeks to use technology to make smart and
18   safe vehicles.
19                                                  II
20                                          THE PARTIES
21         36.     Plaintiff Ji Chang Son and his son, Plaintiff K.M.S., are citizens of the
22   Republic of South Korea, who at all times relevant herein were residing in Orange
23   County, California. On or about August 5, 2016, Plaintiff Ji Chang Son and his wife,
24   Yun Soo Oh, purchased a 2016 Model X from the Tesla Gallery located in Costa Mesa,
25   California.
26         37.     Prior to, and at the time of, the purchase of his 2016 Tesla Model X, Plaintiff
27   Son was informed by Tesla sales personnel of the various safety features with which the
28   Model X was equipped, including Forward Collision Alert and Emergency Automatic

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 1   Braking. It was explained to Plaintiff Son that Automatic Emergency Braking was
 2   intended to prevent accidents from happening in the first place and that the collision
 3   avoidance features were designed to increase the safety of Model X.
 4         38.    Plaintiff Ji Chang Son was the driver of the Model X when the vehicle
 5   experienced uncommanded full power acceleration while he was pulling into the garage
 6   of his home in Orange County, California, on September 10, 2016, causing the vehicle to
 7   crash through the interior wall of the garage of his home and come to rest in Plaintiff’s
 8   living room, injuring Plaintiff Ji Chang Son and his son, Plaintiff K.M.S., who was a
 9   front seat passenger in the vehicle.
10         39.    Plaintiff Ghodrat Khansari is a resident of Dana Point, California. In our
11   about December, 2015, Plaintiff Khansari purchased a 2015 Model S from a Tesla retail
12   store in Costa Mesa, California.
13         40.    Plaintiff Khansari extensively researched the Tesla Model S prior to his
14   decision to purchase. Plaintiff Khansari visited the Tesla Sales Center in The Shops at
15   Mission Viejo several times to speak with Tesla sales personnel about the Model S prior
16   to masking his purchase decision. Plaintiff Khansari intentionally delayed his purchase
17   of a Model S in order to wait for the 2015 Model S to be released because he was told it
18   would be equipped with all the hardware necessary to support the autopilot and other
19   driver-assist features. The Tesla sales representatives described the Model S to Plaintiff
20   Khansari as the safest car on the road and showed him marketing materials, including a
21   video, demonstrating the safety features of the model S.
22         41.    Plaintiff Khansari was the driver of the Model S when the vehicle
23   experienced uncommanded full power acceleration while pulling into a parking spot at a
24   gas station on January 26, 2016, in Orange County, California, causing the vehicle to
25   crash into a fixed steel post.
26         42.    Plaintiff Ali Jarrahi is a resident of Winston-Salem, North Carolina. On or
27   about October 22, 2016, Plaintiff Jarrahi purchased a 2016 Model X through a Tesla
28   retail store in Charlotte, North Carolina.

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 1         43.    Plaintiff Jarrahi researched the Model X for two years before purchasing the
 2   vehicle. Plaintiff Jarrahi, together with his son, performed extensive research on the on
 3   the internet, including on Tesla’s website. Plaintiff Jarrahi also visited the Tesla Sales
 4   Center in Charlotte, North Carolina, several times where he was told about the safety of
 5   the Model X and its collision avoidance systems, including the Forward Collision Alert
 6   and Automatic Emergency Braking. Plaintiff Jarrahi was exposed to statements in
 7   Tesla’s online and print marketing materials, and by Tesla sales representatives that the
 8   Model X was “the safest, fastest and most capable sport utility vehicle in history and that
 9   it was designed to be the safest car on the road. Plaintiff Jarrahi was on the reservation
10   list for a Model X for 1 to 2 years and performed additional research prior to agree to
11   make the purchase when his Model X became available. Safety was the primary
12   consideration for Plaintiff Jarrahi in deciding to purchase the Model X.
13         44.    On December 5, 2016, Plaintiff Jarrahi’s wife was the driver of the Model X
14   when the vehicle experienced uncommanded full power acceleration after she had come
15   to a stop while waiting to make a right turn. As a result of the full power acceleration,
16   she could not negotiate the right hand turn and collided with a vehicle that was also
17   stopped in the left hand turn lane of the road onto which she was attempting to turn.
18         45.    Plaintiff Michael Tomko is a resident of Columbus, Ohio. On or about July
19   28, 2016, Plaintiff Tomko purchased a 2016 Model S from a Tesla retail store in
20   Columbus, Ohio.
21         46.    Plaintiff Tomko also visited the Tesla retail store in Columbus, Ohio,
22   multiple times while contemplating the purchase of a Model S vehicle, where he was
23   informed about the safety of the Model S. Safety was a significant consideration for
24   Plaintiff Tomko in deciding to purchase the Model S.
25         47.    On October 15, 2016, Plaintiff Tomko’s spouse was driving the Model S
26   slowly in a parking lot and was preparing to stop when the vehicle experienced
27   uncommanded acceleration, causing the vehicle to surge forward, out of the parking lot
28   and into a wooded area. On January 20, 2017, Plaintiff Tomko’s spouse was again

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 1   driving the Model S in a parking lot and preparing to park when it again experienced
 2   uncommanded acceleration and surged forward, jumping a parking block and traveling
 3   50 feet before she was able to bring the vehicle to a stop.
 4         48.    Plaintiff Madhusudhana Shastrula is a resident of Marietta, Georgia. On or
 5   about December 29, 2016, Plaintiff Shastrula leased a Model X through a Tesla retail
 6   store in Marietta, Georgia.
 7         49.    Plaintiff Shastrula researched the Tesla Model X prior to his decision to
 8   purchase, both through the internet, including Tesla’s own website, and by visiting a
 9   Tesla Sales Center. Plaintiff Shastrula was exposed to Tesla statements online and
10   through Tesla sales representatives that the Model X was “the safest, fastest and most
11   capable sport utility vehicle in history” and that it was “designed to be the safest car on
12   the road.” Plaintiff Shastrula was also exposed to Tesla statements online and through
13   Tesla sales representatives that the Model X was equipped with Forward Collision Alert
14   and Automatic Emergency Braking systems designed to prevent accidents from
15   happening in the first place. The advertised power and safety of the Model X were
16   Plaintiff Shastrula’s the primary considerations in deciding to lease the Model X.
17         50.    On February 27, 2017, Plaintiff Shastrula was driving his Model X in a
18   parking structure at his office. Plaintiff Shastrula slowed the vehicle and was making a
19   left turn into a parking stall when his Model X experienced uncommanded full power
20   acceleration and collided with a concrete wall.
21         51.    Plaintiff Kenneth Helman is a resident of Park Ridge, New Jersey. On or
22   about March 13, 2017, Plaintiff Helman purchased a Model S through a Tesla retail store
23   in Paramus, New Jersey.
24         52.    Plaintiff Helman researched the Tesla Model S prior to his decision to
25   purchase, both through the internet, including Tesla’s own website, and by visiting a
26   Tesla Sales Center. Plaintiff Helman was exposed to Tesla statements online and through
27   Tesla sales representatives that the Model S was designed to be the safest car on the road.
28

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 1         53.    On May 17, 2017, Plaintiff Helman’s wife was driving his Model S
 2   returning home with their 8 year old son from a softball game. Plaintiff Helman’s wife
 3   was pulling into the driveway of their home and was about to back into their garage when
 4   the Model S experienced uncommanded full power acceleration, travelling approximately
 5   60 feet before Plaintiff Helman’s wife was able to bring the vehicle to a stop, feet away
 6   from colliding with their neighbor’s home.
 7         54.    Plaintiff Bridgette Waldemar is a resident of West Palm Beach, Florida. On
 8   or about July 2015, Plaintiff Waldemar purchased a pre-owned 2014 Tesla Model S
 9   through a Tesla retail store in Tampa, Florida.
10         55.    Plaintiff Waldemar researched the Tesla Model S prior to her decision to
11   purchase, both through the internet, including Tesla’s own website, and by visiting a
12   Tesla Sales Center in Palm Beach, Florida. Plaintiff Waldemar was exposed to Tesla
13   statements online and through Tesla sales representatives that the Model S was the safest
14   car on the road.
15         56.    On February 14, 2017, Plaintiff Waldemar was driving her Model S while
16   attempting to park her Model S at a Pet Smart in Lake Park, Florida. Plaintiff Waldemar
17   made a left turn into a parking spot and had her foot on the brake as the vehicle was
18   creeping into the parking spot when she felt the vehicle surge forward. She applied the
19   break which prevented the car from propelling forward. After she placed the car in park
20   it jumped a curb, traveled up an embankment and struck a tree.
21         57.    Defendant Tesla, Inc., is a Delaware corporation with its headquarters
22   located at 3500 Deer Creek Road, Palo Alto, California 94304.
23                                                III

24                                JURISDICTION AND VENUE
25         58.    This Court has subject matter jurisdiction pursuant to the Class Action
26   Fairness Act, 28 U.S.C. § 1332(d). The aggregated claims of the individual class
27   members exceed the sum or value of $5,000,000, exclusive of interest and costs; there are
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 1   more than 100 putative class members defined below; and there are numerous members
 2   of the proposed class who are citizens of a state different from Tesla.
 3         59.    This Court has personal jurisdiction over Defendant Tesla because its
 4   corporate headquarters and primary manufacturing facility are located in California, it
 5   conducts substantial business in the District, and because a substantial part of the acts and
 6   omissions complained of occurred in the District.
 7         60.    Venue is proper in the Central District of California pursuant to 28 U.S.C.
 8   § 1391(a) and (b) because a substantial part of the events, acts and omissions giving rise
 9   to these claims occurred in the Central District of California.
10                                                IV
11                                 FACTUAL BACKGROUND
12   A.    Tesla’s Development of the Model S and Model X Vehicles
13         61.    Defendant Tesla, Inc. (“Tesla”) designs, develops, manufactures, and sells
14   electric vehicles and electric vehicle powertrain components. The company also provides
15   services for the development and sale of electric powertrain systems and components, to
16   other automotive manufacturers. It markets and sells its vehicles through Tesla stores, as
17   well as via the Internet. As of October 2016, the company operated a network of 99
18   Tesla Stores and Galleries in the United States, of which 28 are located within California.
19   Tesla was founded in July 2003 and is headquartered in Palo Alto, California. Tesla
20   claims to use proprietary technology and state-of-the-art manufacturing processes to
21   create one of the safest vehicles on the road today.
22         62.    Tesla announced the development of the Model S four-door all electric
23   sedan on June 30, 2008. And on March 26, 2009, Tesla revealed the Model S prototype
24   to the public for the first time. The first Model S were delivered to buyers in June 2012.
25   Only approximately 2,620 vehicles were delivered in the United States 2012. In 2013,
26   however, that number would jump to approximately 18,650.
27         63.    Tesla has also continued to increase the power and performance of the
28   Model S. In its Fourth Quarter & Full Year 2016 Update, Tesla announced that the

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 1   Model S P100D had posted a record setting 0 to 60 miles per hour in 2.275 seconds – the
 2   fastest vehicle acceleration ever recorded by Motor Trend, “including million dollar, two-
 3   seat, gasoline-powered super cars with almost no cargo space.”
 4         64.    On February 9, 2012, Tesla announced the development of a full-sized, all
 5   electric, luxury crossover SUV called the Model X. At that time, Tesla announced that
 6   “Tesla Model X Performance version will accelerate from 0 to 60 miles per hour in 4.4
 7   seconds [making the] Model X faster than many sports cars, including the Porsche 911
 8   Carrera.”
 9         65.    By the time Tesla began deliveries of the Model X to North American
10   consumers, it had increased the power and performance of the Model X beyond Tesla’s
11   own projections. At the time of its introduction, Tesla offered the Model X in two
12   performance packages: 1) P90D that can accelerate from 0 to 60 m.p.h. in 3.8 seconds;
13   and 2) the Ludicrous P90D that can accelerate from 0 to 60 m.p.h. in 3.2 seconds. The
14   Model X has a top speed of 155 m.p.h.
15         66.    Tesla now offers the Model with a 100 kWh battery that can accelerate the
16   Model X “from zero to 60 miles per hour in as quick as 2.9 seconds.”
17   B.    Tesla Markets the Safety of the Model S and Model X
18         67.    Tesla markets its Model S sedan as being “designed from the ground up to
19   be the safest car on the road.”
20         68.    Beginning in September 2014, all Tesla Model S vehicles were
21   manufactured with a camera mounted at the top of the windshield, forward looking radar,
22   and ultrasonic acoustic location sensors that provide the vehicle’s computer with a 360-
23   degree view around the car. This equipment allowed the Model S to detect road signs,
24   lane markings, obstacles, and other vehicles.
25         69.    In March 2015, Tesla implemented Automatic Emergency Braking as parts
26   of its version 6.2 software update for the Model S. As described in more detail below,
27   the Automated Emergency Braking was a feature marketed by Tesla as a new “Collision
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 1   Avoidance Assist” feature that automatically engages the brakes to reduce the impact of
 2   an unavoidable frontal collision.
 3         70.    Beginning in October 2016, Tesla upgraded this hardware in all new Model
 4   S vehicles to include 8 surround cameras and 12 ultrasonic sensors.
 5         71.    Equal with its staggering performance, Tesla marketed the Model X as being
 6   “designed to be the safest car on the road,” with every Model X coming “standard with
 7   automatic emergency braking and side collision avoidance to prevent accidents from
 8   happening in the first place.”
 9         72.    Every Model X is equipped with “a forward-looking camera, radar, and 360
10   degree sonar sensors to enable advanced autopilot features.”
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18         73.   Tesla also promoted its “over-the-air software updates” allowing Tesla to
19   “regularly improve the sophistication of these features, enabling increasingly capable
20   safety and convenience features.”
21         74.   Tesla equips the Model X with a pair of safety features called “Forward
22   Collision Warning” and “Automatic Emergency Braking.” As described in the Model X
23   Owner’s Manual:
24             [T]he following collision avoidance features are designed to
               increase the safety of you and your passengers:
25
                 •      Forward Collision Warning provides visual and audible
26                      warnings in situations where there is a high risk of a
                        frontal collision . . . .
27
                 •      Automatic Emergency Braking automatically applies
28                      braking to reduce the impact of a frontal collision . . . .

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 1                The forward looking camera and the radar sensor are designed
                  to determine the distance from any object (vehicle, motorcycle,
 2                bicycle, or pedestrian) traveling in front of Model X. When a
                  frontal collision is considered unavoidable, Automatic
 3                Emergency Braking is designed to automatically apply the
                  brakes to reduce the severity of the impact.
 4
                  When Automatic Emergency Braking applies the brakes, the
 5                instrument panel displays a visual warning and you'll hear a
                  chime. You may also notice abrupt downward movement of
 6                the brake pedal. The brake lights turn on to alert other road
                  users that you are slowing down.
 7
                  ...
 8
                  Automatic Emergency Braking operates only when driving
 9                between 5 mph (8 km/h) and 85 mph (140 km/h).
10                Automatic Emergency Braking does not apply the brakes, or
                  stops applying the brakes, in situations where you are taking
11                action to avoid a potential collision. For example:
12                       • You turn the steering wheel sharply.
                         • You press the accelerator pedal.
13                       • You press and release the brake pedal.
                         • A vehicle, motorcycle, bicycle, or pedestrian, is no
14                         longer detected ahead.
15         75.    With these and other features, Tesla touts the Model X as being “the safest,
16   fastest and most capable sport utility vehicle in history.”
17   C.    Tesla Is on Notice of SUA Complaints Involving Both its Model S and Model
18         X Vehicles
19         76.    NHTSA maintains an online complaint database where consumers can file
20   complaints regarding issues they are experiencing with their vehicle. Complaints can be
21   entered into the system via the internet, through a toll-free Safety Auto Hotline, by
22   submitting a written vehicle owner questionnaire (“VOQ”) or by mailing a letter. The
23   NHTSA consumer complaints database is considered one of NHTSA’s most important
24   sources of field data and is monitored by all major automobile manufacturers, including
25   Tesla, for the purpose of ascertaining field data about the performance of their vehicles.
26   //
27   //
28   //

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 1         1.     Model S Reports of Sudden Unintended Acceleration to NHTSA
 2         In September 2013, the first two complaints of sudden unintended acceleration in
 3   the Model S were reported to NHTSA. These were the first of what would become 13
 4   separate reports detailing 14 SUA incidents, in the next 41 months.
 5         77.    The following information was entered into the NHTSA complaint database,
 6   and therefore, was available to Tesla, in connection with these seven complaints:
 7
 8      September 24, 2013 NHTSA ID NUMBER: 10545230

 9      Components: VEHICLE SPEED CONTROL

10      NHTSA ID Number: 10545230

11      Incident Date September 21, 2013

12      Consumer Location SAN DIEGO, CA

13      Vehicle Identification Number 5YJSA1CN9DF****

14      Summary of Complaint

15      CRASH Yes

16      FIRE No

17      INJURIES 0

18      DEATHS 0

19      THE CAR WAS GOING AT ABOUT 5 MPH GOING DOWN A SHORT RESIDENTIAL
        DRIVEWAY. BRAKE WAS CONSTANTLY APPLIED. THE CAR SUDDENLY
20      ACCELERATED. IT HIT A CURB AND THE MIDDLE PORTION OF THE CAR LANDED ON
        A 4.5 FT HIGH VERTICAL RETAINING WALL. THE WALL IS ONE FOOT AWAY FROM
21      THE CURB. THE FRONT PORTION OF THE CAR WAS HANGING UP IN THE AIR. THE
        CAR WAS AT ABOUT 45 DEGREE UP AND ABOUT 20 DEGREE TILTED TOWARD THE
22      RIGHT SIDE. AN ENGINEER FROM TESLA SAID THE RECORD SHOWED THE
        ACCELERATING PEDAL WAS STEPPED ON AND IT ACCELERATED FROM 18% TO
23      100% IN SPLIT SECOND. HE BLAMED MY WIFE STEPPING ON THE ACCELERATING
        PEDAL. BUT HE ALSO SAID THERE WAS A BUILT-IN SAFE-GUARD THAT THE
24      ACCELERATOR COULDNOT GO BEYOND 92%. THE STATEMENTS ARE
        CONTRADICTORY. IF THERE IS A SAFEGUARD THAT THE ACCELERATOR CANNOT
25      GO BEYOUND 92%, THERE WOULD BE NO WAY THAT MY WIFE COULD STEP ON IT
        100%. THERE WERE SOME MECHANICAL PROBLEM THAT CAUSED THE
26      ACCELERATOR TO ACCELERATE ON ITS OWN FROM 18% TO 100% IN SPLIT SECOND.
        *LN UPDATED 12/30/2013 *JS
27
        1 Associated Product
28
        Vehicle
                                                 21
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 1
     MAKE                            MODEL                   YEAR
 2
 3
     TESLA                           MODEL S                 2013
 4
 5
 6
       September 26, 2013 NHTSA ID NUMBER: 10545488
 7
       Components: VEHICLE SPEED CONTROL
 8
       NHTSA ID Number: 10545488
 9
       Incident Date July 29, 2013
10
       Consumer Location LAGUNA HILLS, CA
11
       Vehicle Identification Number 5YJSA1CN1DF****
12
       Summary of Complaint
13
       CRASH Yes
14
       FIRE No
15
       INJURIES 0
16
       DEATHS 0
17
       I WAS AT A FULL STOP WAITING TO TURN LEFT INTO THE PARKING GARAGE. WHEN
18     IT WAS CLEAR OF ONCOMING TRAFFIC FOR ME TO MAKE THE LEFT TURN, I
       RELEASED MY FOOT OFF THE BRAKE PEDAL AND THE CAR INSTANTLY SURGED
19     FORWARD VERY FAST AND HIT ANOTHER VEHICLE PARKED IN THE FRONT OF THE
       GARAGE. THIS ALL HAPPENED SO QUICKLY THAT I DID NOT HAVE TIME TO AVOID
20     THE IMPACT. THE TIME OF OCCURRENCE WAS IN BROAD DAYLIGHT AT ABOUT 6PM
       PST.
21
       I HAVE DRIVEN THIS CAR FOR ALMOST 10000 MILES PRIOR TO THE ACCIDENT AND
22     KNOW HOW TO HANDLE THE CAR AND UNDERSTAND THE TORQUE THIS CAR HAS. I
       HAVE MADE THOUSANDS UPON THOUSANDS OF STOPS AND STARTS WITH THIS
23     VEHICLE AND THIS IS THE FIRST TIME THIS HAS EVER HAPPENED. THERE IS NO
       OTHER TERM TO DESCRIBE THIS OTHER THAN SUDDEN ACCELERATION.
24
       THE LOCAL POLICE DEPARTMENT DISPATCHED AN OFFICER AND NO DRUGS OR
25     ALCOHOL WAS INVOLVED. *JS
26     TESLA INSTRUCTED THEIR STAFF TO NOT COMMUNICATE WITH ME ABOUT THIS
       ACCIDENT. *JS
27
       1 Associated Product
28
       Vehicle
                                               22
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
 Case 8:16-cv-02282-JVS-KES Document 40 Filed 06/27/17 Page 30 of 116 Page ID #:525



 1
     MAKE                            MODEL                   YEAR
 2
 3
     TESLA                           MODEL S                 2013
 4
 5
 6
       September 29, 2014 NHTSA ID NUMBER: 10639849
 7
       Components: VEHICLE SPEED CONTROL
 8
       NHTSA ID Number: 10639849
 9
       Incident Date July 19, 2014
10
       Consumer Location BAKERSFIELD, CA
11
       Vehicle Identification Number 5YJSA1H13EF****
12
       Summary of Complaint
13
       CRASH Yes
14
       FIRE No
15
       INJURIES 0
16
       DEATHS 0
17
       TL* THE CONTACT OWNS A 2014 TESLA MODEL S. WHILE PULLING INTO A PARKING
18     SPACE, THE VEHICLE SURGED FORWARD, JUMPED THE CURB, AND CRASHED INTO
       A BUILDING. A POLICE REPORT WAS FILED. THERE WERE NO INJURIES. THE
19     VEHICLE WAS TOWED TO AN IMPOUND LOT. THE MANUFACTURER WAS NOTIFIED
       OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS 1,200.
20
       1 Associated Product
21
       Vehicle
22
23   MAKE                            MODEL                   YEAR
24
25   TESLA                           MODEL S                 2014
26
27
28     September 29, 2014 NHTSA ID NUMBER: 10639935

                                               23
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
 Case 8:16-cv-02282-JVS-KES Document 40 Filed 06/27/17 Page 31 of 116 Page ID #:526



 1     Components: VEHICLE SPEED CONTROL

 2     NHTSA ID Number: 10639935

 3     Incident Date July 19, 2014

 4     Consumer Location BAKERSFIELD, CA

 5     Vehicle Identification Number 5YJSA1H13EF****

 6     Summary of Complaint

 7     CRASH Yes

 8     FIRE No

 9     INJURIES 1

10     DEATHS 0

11     I PULLED SLOWLY IN TO A PARKING SPOT & MY CAR WAS AT A STOP POSITION
       JUST READY TO PUSH PARK BUTTON. WITHIN A SPLIT OF A SECOND, MY CAR
12     (TESLA) JUMPED THE CURB AND TRAVELED 5' OF SIDEWALK BREAKING A GLASS
       WALL & TRAVELING THROUGH A RESTAURANT BREAKING TABLES & CHAIRS
13     WITHIN COUPLE OF SECONDS W/O ME ACCELERATING THE PEDAL. BRAKE PEDAL
       WAS APPLIED BY ME HALF WAY THROUGH THE RESTAURANT BEFORE THE CAR
14     STOPPED. NO SERIOUS INJURIES TO ANYONE. TESLA WAS NOTIFIED & THIS IS THE
       LOG FILE DATA WORD BY WORD FROM THEM. ?AT THE TIME OF THE INCIDENT
15     THAT RESULTED IN DAMAGE TO YOUR VEHICLE, YOU INCREASED THE
       ACCELERATOR PEDAL POSITION FROM 1% TO 50% IN LESS THAN ONE SECOND
16     WITHOUT DEPRESSING THE BRAKE PEDAL. ONE SECOND LATER, YOU INCREASED
       THE ACCELERATOR PEDAL TO 100% WITHOUT DEPRESSING THE BRAKE PEDAL.
17     ONE SECOND LATER, YOU CONTINUED DEPRESSING THE ACCELERATOR PEDAL AT
       100% WITHOUT DEPRESSING THE PEDAL; HOWEVER, THE VEHICLE'S TRACTION
18     CONTROL ENGAGED & THEREFORE LIMITED THE VEHICLE'S TORQUE DESPITE THE
       FACT YOU WERE DEPRESSING THE ACCELERATOR PEDAL AT 100% UNTIL YOU
19     DEPRESSED THE BRAKE PEDAL IN THE FOLLOWING SECOND.? INSUFFICIENT
       INFORMATION PROVIDED BY TESLA. HOW MUCH WAS THE ACCELERATOR PEDAL
20     DEPRESSED? SPEED OF THE CAR? DISTANCE TRAVEL? HOW DOES THIS PROVE THAT
       THIS IS NOT SUDDEN ACCELERATION? THE LOG DOES PROVE THAT I WAS AT A
21     STOP. MY CAR WILL BE TOTALED BUT IS STILL SITTING AT STORAGE WITH
       INSURANCE COMPANY FOR A SHORT PERIOD OF TIME. MANY ACCIDENTS WITH
22     TESLA HAS OCCURRED, EVEN JUST LIKE MINE IN TO A RESTAURANT(
       HTTP://INSIDEEVS.COM/TESLA-MODEL-S-CRASHES-THROUGH-RESTAURANT-
23     DRIVER-BLAMES-IT-ON-UNINTENDED-ACCELERATION/)
       (HTTP://WWW.MOTORAUTHORITY.COM/NEWS/1087171_TESLA-MODEL-S-
24     UNINTENDED-ACCELERATION-COMPLAINT-FILED-WITH-NHTSA.) THEY CAN'T ALL
       BE DRIVERS FAULT. NHTSA NEEDS TO INVESTIGATE THE BOX IN THE CAR BEFORE
25     FATAL INJURIES OCCUR. PUBLIC SAFETY SHOULD BE THE PRIORITY. *TR
26     1 Associated Product
27     Vehicle
28

                                              24
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
 Case 8:16-cv-02282-JVS-KES Document 40 Filed 06/27/17 Page 32 of 116 Page ID #:527



 1
     MAKE                             MODEL                  YEAR
 2
 3
     TESLA                            MODEL S                2014
 4
 5
 6
       August 18, 2015 NHTSA ID NUMBER: 10749575
 7
       Components: VEHICLE SPEED CONTROL
 8
       NHTSA ID Number: 10749575
 9
       Incident Date August 4, 2015
10
       Consumer Location RANCHO SANTA FE, CA
11
       Vehicle Identification Number 5YJSA1DN5DF****
12
       Summary of Complaint
13
       CRASH Yes
14
       FIRE No
15
       INJURIES 0
16
       DEATHS 0
17
       TL* THE CONTACT OWNS A 2013 TESLA MODEL S. THE CONTACT STATED THAT THE
18     VEHICLE SUDDENLY ACCELERATED WITHOUT WARNING TO ITS MAXIMUM
       ACCELERATION RATE AND CRASHED INTO FIVE PARKED VEHICLES. THE DRIVER
19     SIDE OF THE VEHICLE WAS DAMAGED AND THE AIR BAGS DID NOT DEPLOY. THERE
       WERE NO INJURIES. A POLICE REPORT WAS FILED. THE VEHICLE WAS TOWED
20     AWAY BY AAA. THE MANUFACTURER WAS NOTIFIED BUT WAS UNABLE TO ADVISE
       THE CONTACT OF THE CAUSE OF THE FAILURE. THE FAILURE MILEAGE WAS 9,021.
21
       1 Associated Product
22
       Vehicle
23
24   MAKE                             MODEL                  YEAR
25
26   TESLA                            MODEL S                2013
27
28

                                                25
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
 Case 8:16-cv-02282-JVS-KES Document 40 Filed 06/27/17 Page 33 of 116 Page ID #:528



 1     December 15, 2015 NHTSA ID NUMBER: 10810457

 2     Components: VEHICLE SPEED CONTROL

 3     NHTSA ID Number: 10810457

 4     Incident Date November 25, 2015

 5     Consumer Location COPPELL, TX

 6     Vehicle Identification Number 5YJSA1S28FF****

 7     Summary of Complaint

 8     CRASH Yes

 9     FIRE No

10     INJURIES 0

11     DEATHS 0
12     ON THE AFTERNOON OF NOVEMBER 25, 2015, I WAS DRIVING INTO A STRIP MALL
       PARKING LOT. I WAS GOING TO PULL INTO ONE OF THOSE SPACES WHERE YOU
13     CAN PARK PERPENDICULAR TO A SIDEWALK CURB AND THE SIDEWALK LEADS UP
       TO THE STORE FRONTS.
14
       WHEN APPROACHING THE PARKING SPACE, THE CAR WAS ALREADY IN
15     REGENERATIVE BRAKING MODE, AND ACCORDING TO TESLA’S LOGS, THE CAR
       SLOWED DOWN TO 3.5 MPH. SINCE THE CAR HAD ENOUGH MOMENTUM TO ROLL
16     INTO THE SPACE ON ITS OWN, MY FOOT WAS NOT ON THE ACCELERATOR OR THE
       BRAKE PEDAL. MY FOOT WAS UP RESTING ON ITS HEEL, READY TO TAP THE BRAKE
17     WHEN IT GOT CLOSE ENOUGH TO THE CURB.
18     WHILE THE CAR WAS COASTING INTO THE SPACE THE MOTOR WAS VERY QUIET.
       ALL OF A SUDDEN, I HEARD A “WHIRRING” SOUND FROM THE MOTOR. I DON’T
19     KNOW HOW BETTER TO DESCRIBE IT, THAN TO SAY IT WAS ALMOST LIKE THE
       MOTOR WENT FROM A STATE OF SLUMBER TO A FULL STATE OF AWARENESS.
20
       I BELIEVE THE MOTOR WAS “WHIRRING” LOUDLY FOR ABOUT A SECOND BEFORE
21     THE CAR TOOK OFF AT SUCH A FAST PACE AND WOUND UP HITTING A BRICK
       WALL. IT HAPPENED SO QUICKLY, I DIDN’T HAVE ANY TIME TO REACT. AFTER THE
22     IMPACT, I DIDN’T EVEN KNOW THE AIRBAGS DEPLOYED UNTIL I OPENED MY EYES
       AND SAW THE DEFLATED AIRBAGS IN THE CAR. IT LOOKED LIKE THE CAR JUMPED
23     THE CURB, HIT THE BRICK WALL, BOUNCED BACKWARDS FROM THE IMPACT AND
       LANDED BACK INTO THE PARKING SPACE.
24
       ACCORDING TO TESLA’S LOGS, THE DATA READS THAT THE PEDAL WAS
25     DEPRESSED DOWN TO 97% AND THE CAUSE OF THE ACCIDENT WAS DUE TO
       DRIVER ERROR. I STAND FIRMLY BY MY STATEMENT THAT MY FOOT WAS NOT ON
26     EITHER THE ACCELERATOR OR THE BRAKE PEDAL WHEN THE CAR ACCELERATED.
       DATA MAY SHOW THERE WAS PEDAL DEPRESSION BUT I DID NOT DO THE
27     DEPRESSING. THIS WAS DUE TO UNINTENDED ACCELERATION BY THE CAR.
28     1 Associated Product

                                               26
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
 Case 8:16-cv-02282-JVS-KES Document 40 Filed 06/27/17 Page 34 of 116 Page ID #:529



 1     Vehicle

 2
     MAKE                         MODEL                      YEAR
 3
 4
     TESLA                        MODEL S                    2015
 5
 6
 7
       February 15, 2016 NHTSA ID NUMBER: 10836289
 8
       Components: VEHICLE SPEED CONTROL
 9
       NHTSA ID Number: 10836289
10
       Incident Date September 14, 2015
11
       Consumer Location SEATTLE, WA
12
       Vehicle Identification Number 5YJSA3H12EF****
13
       Summary of Complaint
14
       CRASH Yes
15
       FIRE No
16
       INJURIES 0
17
       DEATHS 0
18
       DRIVER PURCHASED A 2014 TESLA MODEL S CAR IN JUNE 2015 FROM THE
19     HANGZHOU CHINA DEALERSHIP. THIS CAR WAS DRIVEN MODERATELY IN THE
       FOLLOWING MONTHS. IN SEPTEMBER 14, 2015, THE CAR WAS BEING DRIVEN
20     WITHIN A SMALL, ENCLOSED HOUSING COMPOUND. THE CAR WAS GOING VERY
       SLOW AS THE DRIVER WAS TURNING TO EXIT THE COMPOUND THROUGH A GATED
21     ENTRANCE. THE CAR SUDDENLY ACCELERATED WITHOUT THE DRIVER’S
       ASSISTANCE AND DROVE THROUGH THE TRAFFIC GATE BEFORE THE DRIVER WAS
22     ABLE TO QUICKLY BREAK AND BRING THE CAR TO A STOP.
23     ELECTRONIC RECORDS ACCESSED ON SEPTEMBER 15, 2015 REVEALED THE
       FOLLOWING INFORMATION: THE CAR WAS ORIGINALLY BEING DRIVEN AT 4.7
24     KM/HR WITH THE ACCELERATION PEDAL DEPRESSED AT 2.8%. WITHIN ONE
       SECOND, THE ACCELERATION PEDAL WENT FROM BEING DEPRESSED 2.8% TO 84.8%
25     AND THE CAR INCREASED TO 10.75 KM/HR. DURING THE FOLLOWING SECOND, THE
       CAR’S RECORDS SHOW THE ACCELERATION PEDAL TO CONTINUE TO BE
26     COMPRESSED AT 84% WITH THE SPEED INCREASING TO 18.35 KM/HR, BUT WITH THE
       BREAK PEDAL ALSO BEING SIMULTANEOUSLY COMPRESSED. IN THE SUBSEQUENT
27     SECOND, THE ANTI-LOCK BRAKES INITIATED, AND THE CAR WAS BROUGHT TO A
       STOP A SECOND LATER.
28
       WE REJECT THE DEALERSHIP’S DECISION THAT THIS WAS DRIVER’S ERROR. IN
                                              27
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
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 1     SUCH A NARROW ENVIRONMENT AS THE HOUSING COMPOUND, AND DURING A
       SLOW AND CONTROLLED TURN, THERE THE DRIVER HAD NO REASON TO PUT
 2     SIGNIFICANT PRESSURE ON THE ACCELERATION PEDAL AS THE RECORDS SHOW –
       WHETHER INTENTIONAL OR UNINTENTIONAL. WE ALSO FEEL THAT IT WOULD
 3     HAVE BEEN DIFFICULT FOR THE DRIVER TO PUSH BOTH THE ACCELERATOR AND
       BREAK PEDAL TO SUCH A DEGREE SIMULTANEOUSLY. THEREFORE, WE BELIEVE
 4     THAT THE CAR EXPERIENCED AN UNINTENDED ACCELERATION, WHICH WAS NOT
       OF THE DRIVER’S CAUSING.
 5
       THERE HAVE BEEN MANY SIMILAR REPORTS OF TESLA MODEL S UNINTENDED
 6     ACCELERATION CRASHES IN CHINA. WE FEEL THAT THIS IS A SERIOUS SAFETY
       HAZARD WHICH NEEDS TO BE FURTHER INVESTIGATED.
 7
       1 Associated Product
 8
       Vehicle
 9
10   MAKE                          MODEL                     YEAR
11
12   TESLA                         MODEL S                   2014
13
14
15     May 10, 2016 NHTSA ID NUMBER: 10864163
16     Components: VEHICLE SPEED CONTROL
17     NHTSA ID Number: 10864163
18     Incident Date May 6, 2016
19     Consumer Location FREDERICK, MD
20     Vehicle Identification Number 5YJSA1E13GF****
21     Summary of Complaint
22     CRASH Yes
23     FIRE No
24     INJURIES 0
25     DEATHS 0
26     UNINTENDED ACCELERATION OCCURRED ON 2 SEPARATE OCCASIONS WITH 2
       DIFFERENT DRIVERS WITHIN 2 WEEKS. MODEL S 70D
27
       INCIDENT 1: MY WIFE WAS AT A STOP SIGN. SHE REMOVED HER FOOT FROM THE
28     BRAKE AND BEFORE APPLYING THE ACCELERATOR THE CAR SURGED FORWARD
       AGGRESSIVELY. SINCE HER FOOT NEVER TOUCHED THE ACCELERATOR SHE WAS
                                              28
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
 Case 8:16-cv-02282-JVS-KES Document 40 Filed 06/27/17 Page 36 of 116 Page ID #:531



 1     ABLE TO APPLY THE BRAKE AND STOP WITHIN 8-10 FEET. SHE WAS VISIBLY
       SHAKEN WHEN SHE GOT HOME BUT, REGRETTABLY, NO REPORT WAS FILED.
 2
       INCIDENT 2: ABOUT 2 WEEKS LATER, MAY 6, I WAS PULLING INTO MY GARAGE
 3     WITH MY WIFE AND BABY IN THE VEHICLE. 2-3 FEET FROM THE THE GARAGE
       WALL (IN CREEP MODE) I GENTLY TOUCHED THE BRAKE TO COME TO A STOP. AT
 4     THAT POINT THE CAR SURGED FORWARD VERY AGGRESSIVELY. I IMMEDIATELY
       APPLIED HEAVY BRAKE AND WAS ABLE TO STOP THE CAR IN A FEW FEET (SINCE
 5     MY FOOT WAS ALREADY OVER THE BRAKE PEDAL). THE FRONT END HIT THE
       GARAGE WALL AND PENETRATED 10-12 INCHES CAUSING DRYWALL DAMAGE AND
 6     SIGNIFICANT DAMAGE TO OUR POWDER ROOM ON THE OTHER SIDE.

 7     A REPORT WITH TESLA WAS FILED IMMEDIATELY. LOGS WERE DOWLOADED AND
       SHOW THAT THE ACCELERATOR WAS DEPRESSED TO 97% POWER IN LESS THAN A
 8     SECOND AND THAT IT WAS DRIVER ERROR. MY WIFE AND I HAVE A COMBINED 48
       YEARS OF ACCIDENT FREE DRIVING AND NEITHER OF US HAVE EVER MISTAKEN
 9     CONTROL PEDALS OR HAVE EVER FLOORED A GAS PEDAL IN A SECOND.

10
11     MY WIFE IS 37, HEALTHY AND A PHYSICIAN, I AM A HEALTHY 42 YEAR OLD PILOT.
       WE CAN BOTH SAY WITH 100% CERTAINTY THAT NEITHER INCIDENT WAS DRIVER
12     ERROR. TESLA HAS A SERIOUS UNINTENDED ACCELERATION PROBLEM ALSO
       MADE EVIDENT BY THE OTHER COMPLAINTS FILED ON NHTSA, ALL OF WHICH
13     SEEM TO FALL UNDER SIMILAR OPERATING PARAMETERS.

14     WE NOW HAVE A $90,000 CAR SITTING IN OUR GARAGE THAT IS UNSAFE FOR MY
       FAMILY, IT SEEMS TESLA IS GOING THE ROUTE OF WAITING FOR INJURY AND
15     DEATHS TO OCCUR BEFORE THEY ACKNOWLEDGE THIS SAFETY DEFECT.
16     1 Associated Product
17     Vehicle
18
     MAKE                           MODEL                    YEAR
19
20
     TESLA                          MODEL S                  2016
21
22
23
       May 11, 2016 NHTSA ID NUMBER: 10864353
24
       Components: VEHICLE SPEED CONTROL
25
       NHTSA ID Number: 10864353
26
       Incident Date May 11, 2016
27
       Consumer Location DENHAM SPRINGS, LA
28
       Vehicle Identification Number 5YJSA1E23FF****
                                               29
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
 Case 8:16-cv-02282-JVS-KES Document 40 Filed 06/27/17 Page 37 of 116 Page ID #:532



 1     Summary of Complaint

 2     CRASH No

 3     FIRE No

 4     INJURIES 0

 5     DEATHS 0

 6     WHILE DRIVING SLOWLY ~5MPH IN A WAL MART PARKING LOT, MY WIFE WENT TO
       PULL INTO A PARKING SPOT, SHE TOOK HER FOOT OFF THE ACCELERATOR PEDAL
 7     AND THE CAR ACCELERATED "FULLY" ALMOST HITTING THE CAR IN FRONT. MY
       WIFE HAD TO SLAM ON THE BRAKES TO PREVENT AN ACCIDENT.
 8
       1 Associated Product
 9
       Vehicle
10
11   MAKE                            MODEL                   YEAR
12
13   TESLA                           MODEL S                 2015
14
15
16     June 17, 2016 NHTSA ID NUMBER: 10874744
17     Components: VEHICLE SPEED CONTROL
18     NHTSA ID Number: 10874744
19     Incident Date June 10, 2016
20     Consumer Location SAN JOSE, CA
21     Vehicle Identification Number 5YJSA1E28FF****
22     Summary of Complaint
23     CRASH Yes
24     FIRE No
25     INJURIES 0
26     DEATHS 0
27     UNINTENDED, UNCOMMANDED ACCELERATION. CAR RAPIDLY ACCELERATED TO
       MAXIMUM THROTTLE DURING PARKING MANEUVER IN A PARKING STRUCTURE. I
28     WAS TRAVELLING AT 3MPH. CAR ACCELERATED, HIT ANOTHER VEHICLE AND A

                                               30
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
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 1     WALL. TESLA CLAIMS VEHICLE LOGS SHOW THROTTLE WAS COMMANDED TO 98%.
       AT NO TIME DID I HAVE ANYTHING BUT A LIGHT TOUCH ON THE THROTTLE.
 2
       1 Associated Product
 3
       Vehicle
 4
 5   MAKE                         MODEL                      YEAR
 6
 7   TESLA                        MODEL S                    2015
 8
 9
10     September 27, 2016 NHTSA ID NUMBER: 10910065
11     Components: VEHICLE SPEED CONTROL, SERVICE BRAKES, AIR BAGS
12     NHTSA ID Number: 10910065
13     Incident Date September 16, 2016
14     Consumer Location TUCSON, AZ
15     Vehicle Identification Number SYJSA1H4SFF****
16     Summary of Complaint
17     CRASH Yes
18     FIRE No
19     INJURIES 1
20     DEATHS 0
21     I DROVE THE CAR INTO A PARKING SPACE AT THE SCHOOL (DESERT CHRISTIAN
       ELEMENTARY) IN TUCSON ARIZONA ON SEPT 16TH ABOUT 11:05 AM, WHEN THE
22     CAR ACCELERATED ON ITS OWN (UNINTENDED ACCELERATION) AND CRASHED
       INTO 2 PARKED VEHICLES AND AIRBAGS DEPLOYED AND I SUSTAINED A
23     FRACTURE OF MY RIGHT ARM REQUIRING SURGERY. ALSO MY CAR (THE TESLA
       MODEL S) WAS DAMAGED AND THE TWO OTHER PARKED CARS.
24
       1 Associated Product
25
       Vehicle
26
27   MAKE                         MODEL                      YEAR
28

                                              31
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
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 1
     MAKE                          MODEL                     YEAR
 2
 3
     TESLA                         MODEL S                   2015
 4
 5
 6
       February 6, 2017 NHTSA ID NUMBER: 10949955
 7
       Components: SERVICE BRAKES, VEHICLE SPEED CONTROL
 8
       NHTSA ID Number: 10949955
 9
       Incident Date January 5, 2017
10
       Consumer Location MOUNTAIN VIEW, CA
11
       Vehicle Identification Number 5YJSA1E1XGF****
12
       Summary of Complaint
13
       CRASH Yes
14
       FIRE No
15
       INJURIES 2
16
       DEATHS 0
17
       I WAS STOPPED AT A STOP LIGHT ON MY WAY TO WORK AROUND 8AM ON A VERY
18     CROWDED CITY STREET. AS THE LIGHT TURNED GREEN, I SLOWLY PRESSED ON
       THE GAS TO MOVE FORWARD AND THE CAR TOOK OFF AT TOP SPEED. I HIT THE
19     BRAKE BUT THE CAR DID NOT RESPOND - IT DID NOT SLOW DOWN OR STOP, NOR
       DID ANY ALARM, EITHER VISUAL OR AUDITORY, GO OFF INSIDE THE CAR. TO HIT
20     THE CAR IN FRONT OF ME AND THEN HAD TO SWERVE TO AVOID HITTING DOZENS
       OF CARS IN MY PATH. I GRAZED PAST A LAMP POST, ANOTHER CAR AND FINALLY
21     CRASHED INTO A TREE.
22     1 Associated Product
23     Vehicle
24
     MAKE                          MODEL                     YEAR
25
26
     TESLA                         MODEL S                   2016
27
28

                                              32
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
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 1      February 9, 2017 NHTSA ID NUMBER: 10953656

 2      Components: VEHICLE SPEED CONTROL, UNKNOWN OR OTHER

 3      NHTSA ID Number: 10953656

 4      Incident Date December 23, 2016

 5      Consumer Location PASADENA, CA

 6      Vehicle Identification Number 5YJSA1E22GF****

 7      Summary of Complaint

 8      CRASH Yes

 9      FIRE No

10      INJURIES 3

11      DEATHS 0
12      COMPLAINANT, A PHYSICIAN, HAD TAKEN DELIVERY OF A 2016 TESLA MODEL S ON
        DECEMBER 22, 2016. THE FOLLOWING DAY, SHE PULLED INTO HER DRIVEWAY AT
13      HOME AND BROUGHT THE VEHICLE TO A STOP. WITH HER FOOT STILL ON THE
        BRAKE, THE VEHICLE SUDDENLY ACCELERATED ON ITS OWN FROM A STOPPED
14      POSITION TO SPEEDS OF BETWEEN 40-60 MPH. THE VEHICLE PLOWED THROUGH
        THE BRICKS OF HER DRIVEWAY, THROUGH SHRUBS SEPARATING HER PROPERTY
15      FROM HER NEIGHBOR, WENT THROUGH AND ACROSS THE NEIGHBOR’S YARD AND
        ONTO AND ADJOINING STREET, WHERE IT COLLIDED WITH A TRUCK.
16
        1 Associated Product
17
        Vehicle
18
19   MAKE                          MODEL                              YEAR
20
21   TESLA                         MODEL S                            2016
22
23
24         2.     Model X Reports of Sudden Unintended Acceleration to NHTSA
25         78.    On June 7, 2016, less than six months into the full scale distribution of the
26   Model X, the first complaint of sudden unintended acceleration was registered in
27   NHTSA’s complaint database. This would be the first of seven separate complaints that
28   would be entered in the NHTSA complaint database in just the next four months.

                                                  33
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
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 1         79.    The following information was entered into the NHTSA complaint database,
 2   and therefore, was available to Tesla, in connection with these seven complaints:
 3
 4      June 7, 2016 NHTSA ID NUMBER: 10873117

 5      Components: STRUCTURE, VEHICLE SPEED CONTROL, AIR BAGS

 6      NHTSA ID Number: 10873117

 7      Incident Date June 4, 2016

 8      Consumer Location ANAHEIM, CA

 9      Vehicle Identification Number 5YJXCAE46GF****

10      Summary of Complaint

11      CRASH Yes

12      FIRE No

13      INJURIES 1

14      DEATHS 0
15      OUR 5 DAY OLD TESLA X WHILE ENTERING A PARKING STALL SUDDENLY AND
        UNEXPECTEDLY ACCELERATED AT HIGH SPEED ON ITS OWN CLIMBING OVER
16      GRASS AND AND CRASHED INTO A BUILDING.
17      THE AIRBAGS DEPLOYED AND MY WIFE'S ARMS HAVE BURN MARKS AS A
        CONSEQUENCE.
18
        1 Associated Product
19
        Vehicle
20
21   MAKE                            MODEL                          YEAR
22
23   TESLA                           MODEL X                        2016
24
25
26      August 4, 2016 NHTSA ID NUMBER: 10893066
27      Components: VEHICLE SPEED CONTROL, AIR BAGS
28      NHTSA ID Number: 10893066

                                                 34
     SECOND AMENDED CLASS ACTION COMPLAINT
     Case No.: 8:16-cv-02282-JVS-KES
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 1     Incident Date July 28, 2016

 2     Consumer Location DANBURY, CT

 3     Vehicle Identification Number 5YJXCAE29GF****

 4     Summary of Complaint

 5     CRASH Yes

 6     FIRE No

 7     INJURIES 0

 8     DEATHS 0

 9     TL* THE CONTACT OWNS A 2016 TESLA MODEL X. WHILE ATTEMPTING TO PARK,
       THE VEHICLE INDEPENDENTLY ACCELERATED WITHOUT WARNING AND CRASHED
10     INTO A WOOD FENCE. THE AIR BAGS FAILED TO DEPLOY. THERE WERE NO
       INJURIES. A POLICE REPORT WAS FILED. THE VEHICLE WAS NOT DIAGNOSED OR
11     REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE
       APPROXIMATE FAILURE MILEAGE WAS 49.
12
       1 Associated Product
13
       Vehicle
14
15   MAKE                            MODEL                    YEAR
16
17   TESLA                           MODEL X                  2016
18
19
20     August 24, 2016 NHTSA ID NUMBER: 10898260
21     Components: STRUCTURE, VEHICLE SPEED CONTROL, FUEL/PROPULSION
       SYSTEM
22
       NHTSA ID Number: 10898260
23
       Incident Date July 8, 2016
24
       Consumer Location ORMOND BEACH, FL
25
       Vehicle Identification Number 5YJXCBE21GF****
26
       Summary of Complaint
27
       CRASH Yes
28
       FIRE No
                                               35
     SECOND AMENDED CLASS ACTION COMPLAINT
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 1     INJURIES 0

 2     DEATHS 0

 3     ON JULY 8TH 2016, AT 9:37 A.M., WHILE SLOWLY PULLING INTO A PARKING SPACE
       AT CREEKWOOD DOG PARK IN BRADENTON FLORIDA, MY TESLA MODEL X
 4     SUDDENLY ACCELERATED UNDER ITS OWN VOLITION, DROVE OVER A PARKING
       STOP, OVER A FIVE INCH CURB, AND THEN HIT AND KNOCKED OVER A CONCRETE
 5     LIGHT POLE. ALL THIS HAPPENED IN A DISTANCE OF LESS THAN TWENTY FEET.
       TESLA WAS NOTIFIED IMMEDIATELY AND THE CAR WAS TAKEN TO DIMMITT
 6     COLLISION CENTER IN CLEARWATER, FLORIDA. THE SERVICE MANAGER AT TESLA
       OF TAMPA, TOLD ME VERBALLY THE LOG FROM THE EDR SAYS THE CAR WAS
 7     TRAVELING AT 6 MPH, THEN THE ACCELERATOR WAS ADVANCED TO OVER 50%
       AND THEN TO 87%. THE CAR ACCELERATED TO 20 MPH AND ABRUPTLY STOPPED. I
 8     DENIED THIS SCENARIO AND ASKED FOR A SUPERVISOR. TESLA’S SOUTHEAST
       REGIONAL MANAGER MET US AT THE BODY SHOP. HE HANDED ME A LETTER THAT
 9     HAD DIFFERENT EDR RESULTS-VEHICLE SPEED WAS 7 MPH, PEDAL POSITION WENT
       FROM 3.2% TO 15.6% TO 100% AND CAR WENT TO 14 MPH. THE FIRST REPAIR
10     ESTIMATE SHOWED ACTUAL MILEAGE AS 205 AND A SUBSEQUENT REPAIR
       ESTIMATE SHOWS THE ACTUAL MILEAGE AS 1425. THESE FIGURES ARE
11     INACCURATE SINCE I HAD LOOKED AT THE ODOMETER SEVERAL DAYS BEFORE
       THE ACCIDENT AND THE MILEAGE WAS OVER 1800. I INFORMED TESLA THAT I AM
12     POSITIVE BEYOND A SHADOW OF DOUBT THAT THE CAR’S ELECTRONIC THROTTLE
       COMPUTER WAS RESPONSIBLE FOR THE ACCIDENT WHICH THEY DENY. THIS
13     APPEARS TO BE THE INDUSTRY STANDARD SINCE EXPERTS WILL TESTIFY THAT
       ALTHOUGH A CAR IS RESPONSIBLE FOR UNINTENDED ACCELERATION THERE WILL
14     BE NO TRACEABLE EVIDENCE OF THAT RESPONSIBILITY AND THEREFORE THE
       MANUFACTURER HAS PLAUSIBLE DENIABILITY. TESLAS ARE UNDERGOING
15     UNINTENDED ACCELERATION AT A RATE MORE FREQUENT THAN 1/5,000 VEHICLES
       MANUFACTURED. THIS IS WAY MORE FREQUENT THAN THE INDUSTRY STANDARD.
16     GENERAL MOTORS HAS AN EXTREMELY GOOD RATE OF 1/123,000 VEHICLES.
17     1 Associated Product
18     Vehicle
19
     MAKE                           MODEL                     YEAR
20
21
     TESLA                          MODEL X                   2016
22
23
24
       September 19, 2016 NHTSA ID NUMBER: 10908051
25
       Components: VEHICLE SPEED CONTROL, UNKNOWN OR OTHER
26
       NHTSA ID Number: 10908051
27
       Incident Date May 23, 2016
28
       Consumer Location BOSTON, MA
                                              36
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 1     Vehicle Identification Number 5YJXCAE24GF****

 2     Summary of Complaint

 3     CRASH Yes

 4     FIRE No

 5     INJURIES 0

 6     DEATHS 0

 7     WHILE TURNING LEFT TO ENTER A VERY NARROW GARAGE ENTRANCE I NEEDED
       TO DETERMINE WHETHER OR NOT I HAD TO STRAIGHTEN OUT BEFORE PULLING IN
 8     OR IF MY LEFT TURN WAS TIGHT ENOUGH TO PULL IN WITHOUT REVERSING TO
       STRAIGHTEN OUT. I SAW THAT I WAS IN THE POSITION THAT I COULD CONTINUE
 9     INTO THE GARAGE AND LIGHTLY PRESSED THE ACCELERATOR TO FINISH MY
       TURN INTO THE GARAGE.
10
       IT WAS AT THIS POINT THAT THE CAR ACCELERATED WITH EXTREME FORCE AND
11     WITHIN A SECOND SLAMMED INTO A LARGE CONCRETE POLE THAT WAS JUST
       INSIDE THE GARAGE TO THE LEFT.
12
       I NEVER FELT THE CAR SLOW IN THAT MOMENT, ONLY SPEED UP AND I BELIEVE
13     THE CAR SLAMMED INTO THE POLE WHILE ACCELERATING AND WOULD HAVE
       CONTINUED TO ACCELERATE IF NOT FOR THE LARGE POLE.
14
       I DID NOT HAVE EITHER FOOT DEPRESSED ON EITHER PEDAL AT THE MOMENT OF
15     COLLISION. THE AIR BAGS DID NOT DEPLOY, BUT THERE WAS VERY SEVERE
       DAMAGE TO THE FRONT END OF THE CAR THAT WILL BE AT LEAST $25K.
16
       I WAS NOT ON THE PHONE OR DISTRACTED IN ANY WAY. I WAS DRIVING
17     CAREFULLY AND PAYING FULL ATTENTION. THIS IS NOT A CASE OF MISTAKEN
       PEDAL BECAUSE I WAS INTENDING TO ACCELERATE.
18
       AT FIRST TESLA TOLD US OVER THE PHONE THAT THEIR LOGS SHOW THAT THE
19     DRIVER PRESSED THE PEDAL 100% AND THEN TAPPED THE BRAKE BEFORE IMPACT.
       THIS EXPLANATION SOUNDED PHYSICALLY IMPOSSIBLE BECAUSE THE DISTANCE
20     COVERED WAS LESS THAN 3 CAR LENGTHS. A MONTH LATER TESLA SENT A
       LETTER STATING THE DRIVER PRESSED THE ACCELERATOR 100% UNTIL THE
21     VEHICLE SENSED A CRASH. TESLA DID NOT RESPOND TO OUR QUERY ABOUT WHY
       THEIR LOG STORY HAD CHANGED. TESLA ALSO REFUSED TO PROVIDE DATA
22     ABOUT ACCELERATOR/BRAKE PERCENTAGE AND CAR SPEED FOR THE CAR
       EARLIER IN THE DAY. IF A DRIVER IS PRESSING THE PEDAL 100% IT IS A VERY
23     DELIBERATE ACTION.
24     THIS IS A FAILURE OF THE ACCELERATOR AND THE AUTOMATIC BRAKING. THE
       CAR ACCELERATED ON ITS OWN AND CRASHED FULL FORCE INTO A LARGE
25     CONCRETE POLE.
26     1 Associated Product
27     Vehicle
28

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     SECOND AMENDED CLASS ACTION COMPLAINT
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 1
     MAKE                         MODEL                       YEAR
 2
 3
     TESLA                        MODEL X                     2016
 4
 5
 6
       September 26, 2016 NHTSA ID NUMBER: 10909588
 7
       Components: VEHICLE SPEED CONTROL, WHEELS
 8
       NHTSA ID Number: 10909588
 9
       Incident Date September 22, 2016
10
       Consumer Location LEXINGTON, MA
11
       Vehicle Identification Number 5YJXCAE44GF****
12
       Summary of Complaint
13
       CRASH Yes
14
       FIRE No
15
       INJURIES 0
16
       DEATHS 0
17
       I WAS GOING UP BY DRIVEWAY WAITING FOR MY GARAGE DOOR TO OPEN. I TOOK
18     MY FOOT OFF THE ACCELERATOR AND WAS SLOWING DOWN WITHOUT HITTING
       THE BREAKS WAITING FOR THE GARAGE DOOR TO OPEN. THE CAR TOOK OFF
19     THROUGH THE GARAGE DOOR AND HIT MY HUSBANDS CAR SITTING IN THE
       GARAGE.
20
       1 Associated Product
21
       Vehicle
22
23   MAKE                         MODEL                       YEAR
24
25   TESLA                        MODEL X                     2016
26
27
28     September 30, 2016 NHTSA ID NUMBER: 10910701

                                              38
     SECOND AMENDED CLASS ACTION COMPLAINT
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 1     Components: VEHICLE SPEED CONTROL

 2     NHTSA ID Number: 10910701

 3     Incident Date September 29, 2016

 4     Consumer Location BEVERLEY HILLS, CA

 5     Vehicle Identification Number UNKNOWN****

 6     Summary of Complaint

 7     CRASH No

 8     FIRE No

 9     INJURIES 0

10     DEATHS 0

11     HERE IS A NEW COMPLAINT OF UNINTENDED ACCELERATION WHICH SOUNDS
       HIGHLY CREDIBLE.
12
       HTTPS://FORUMS.TESLA.COM/FORUM/FORUMS/NEAR-ACCIDENT-WHILE-PARKING-
13     JUST-NOW

14     NEAR ACCIDENT WHILE PARKING JUST NOW!!
15     SUBMITTED BY HAMI05 ON SEPTEMBER 29, 2016
16     WOW GUYS I'VE SEEN THOSE UNINTENDED ACCELERATION THREADS BEFORE AND
       THOUGHT THAT THE PERSON MUST'VE ALWAYS DEFINITELY BEEN PUNCHING THE
17     ACCELERATOR, BUT I'M NOT SO SURE AFTER WHAT JUST HAPPENED TO ME.
       PLEASE HEAR ME OUT, BECAUSE MY SON AND I ARE FRANKLY QUITE SCARED
18     RIGHT NOW. I WAS DRIVING INTO A PARKING LOT AND I JUST LIGHTLY PRESSED
       THE ACCELERATOR AS I WAS GOING UNDER 10 MPH AND ALL OF A SUDDEN MY X
19     WENT FROM 10 TO OVER 40 MPH IN ABOUT 2 SECONDS! I DIDN'T EVEN KNOW THE
       THING COULD ACCELERATE THAT FAST! CAN ANYBODY EXPLAIN WHAT THE HECK
20     MIGHT'VE HAPPENED? THANKFULLY I WAS ABOUT 100 FT AWAY FROM ANY OTHER
       CARS BEFORE IT TOOK OFF, SO I HAD TIME TO SLAM THE BRAKES WITHOUT
21     PANICKING, OTHERWISE WHO KNOWS WHAT WOULD'VE HAPPENED... I'M CERTAIN
       THAT I DIDN'T ACCIDENTALLY ACTIVATE CRUISE CONTROL/AP, SO THERE'S NO
22     WAY THAT COULD'VE CAUSED IT. MY THEORY IS THAT THE REGENERATIVE
       BRAKES MAY HAVE GIVEN ME A SUDDEN KICK OF ACCELERATION? I'M KIND OF
23     WORRIED NOW, BECAUSE THIS IS ACTUALLY THE SECOND TIME SOMETHING LIKE
       THIS HAS HAPPENED TO ME, EXCEPT THE FIRST TIME WASN'T NEARLY AS BAD, SO I
24     DIDN'T ASK YOU GUYS ABOUT IT. HAS ANYONE ELSE HAD THIS HAPPEN TO THEM?
       DO YOU GUYS THINK I NEED TO ASK MY TESLA TEAM ABOUT THIS?
25
       THIS HASN'T ONLY HAPPENED TO ME WHILE GETTING READY TO PARK, THE FIRST
26     TIME I WAS JUST ACCELERATING UP TO 25 IN MY NEIGHBORHOOD AND IT
       SUDDENLY WENT TO 35 IN A SECOND BUT I WASN'T TOO BOTHERED ABOUT THAT,
27     BECAUSE IT WAS JUST A 10MPH BURST, BUT THIS ONE THAT HAPPENED TO ME
       TODAY WAS THE CAR JUMPING 30 MPH... I'VE DRIVEN THIS CAR FOR 2000 MILES
28     NOW AND IT'S THE ONLY CAR I'VE BEEN DRIVING REALLY OVER THE PAST MONTH.

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 1     1 Associated Product

 2     Vehicle

 3
     MAKE                          MODEL                      YEAR
 4
 5
     TESLA                         MODEL X                    2016
 6
 7
 8
       October 12, 2016 NHTSA ID NUMBER: 10915633
 9
       Components: SERVICE BRAKES, VEHICLE SPEED CONTROL
10
       NHTSA ID Number: 10915633
11
       Incident Date October 7, 2016
12
       Consumer Location SANTA CLARA, CA
13
       Vehicle Identification Number 5YJXCBE22GF****
14
       Summary of Complaint
15
       CRASH Yes
16
       FIRE No
17
       INJURIES 0
18
       DEATHS 0
19
       TL* THE CONTACT OWNS A 2016 TESLA MODEL X. WHILE PARKING THE VEHICLE, IT
20     ACCELERATED WHILE DEPRESSING THE BRAKE PEDAL AND CRASHED INTO A
       FENCE. THERE WERE NO INJURIES AND A POLICE REPORT WAS NOT FILED. THE AIR
21     BAGS DID NOT DEPLOY. THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
       MANUFACTURE WAS NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS 1,000.
22
       1 Associated Product
23
       Vehicle
24
25   MAKE                          MODEL                      YEAR
26
27   TESLA                         MODEL X                    2016
28

                                              40
     SECOND AMENDED CLASS ACTION COMPLAINT
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 1
 2     December 14, 2016 NHTSA ID NUMBER: 10935272

 3     Components: AIR BAGS, STRUCTURE, VEHICLE SPEED CONTROL

 4     NHTSA ID Number: 10935272

 5     Incident Date December 13, 2016

 6     Consumer Location AMAGANSETT, NY

 7     Vehicle Identification Number 5YJXCBE24GF****

 8     Summary of Complaint

 9     CRASH Yes

10     FIRE No

11     INJURIES 1
12     DEATHS 0
13     I HAD PULLED INTO A PARKING LOT, PROCEEDED TO PULL INTO A SPOT ADJACENT
       TO A CINDER BLOCK BUILDING. I HAD MY FOOT LIGHTLY ON THE GAS PEDAL,
14     THEN AS I MADE THE TURN INTO THE SPOT, MY FOOT WAS ON THE BRAKE - THE
       CAR LURCHED FORWARD AND SPED UP AND THE BRAKES DID NOT STOP IT. I WENT
15     RIGHT INTO THE CONCRETE BUILDING, HEAD ON - AIR BAGS DEPLOYED. THE
       FRONT END CRUSHED AND THE 2 AIRBAGS ON THE DRIVERS SIDE DEPLOYED AND
16     WERE SMOKING. I READ ON LINE THAT THERE HAVE BEEN NUMEROUS INCIDENCES
       OF THIS HAPPENING WITH THE TESLA. SPONTANEOUS ACCELERATION WITH MY
17     FOOT NOT ON THE GAS PEDAL. THE CAR WOULD NOT STOP BY THE BRAKES! I
       COULD HAVE BEEN SERIOUSLY INJURED OR HIT ANOTHER PERSONA OR VEHICLE.
18     THE CAR HIT THE BUILDING AS WELL AS A NATURAL GAS PIPE THAT WAS
       RUNNING ALONG THE BUILDINGS SIDE AT THE LEVEL OF MY FRONT BUMPER. I
19     FILED A POLICE REPORT.
20     1 Associated Product
21     Vehicle
22
     MAKE                        MODEL                        YEAR
23
24
     TESLA                       MODEL X                      2016
25
26
27
       January 3, 2017 NHTSA ID NUMBER: 10939234
28

                                              41
     SECOND AMENDED CLASS ACTION COMPLAINT
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 1     Components: STRUCTURE, FUEL/PROPULSION SYSTEM, VEHICLE SPEED
       CONTROL
 2
       NHTSA ID Number: 10939234
 3
       Incident Date November 2, 2016
 4
       Consumer Location SANTA CLARA, CA
 5
       Vehicle Identification Number 5YJXCAE27GF****
 6
       Summary of Complaint
 7
       CRASH Yes
 8
       FIRE No
 9
       INJURIES 0
10
       DEATHS 0
11
       WHILE TURNING LEFT INTO A PARKING SPOT AT A VERY SLOW SPEED, THE CAR
12     SUDDENLY ACCELERATED WITH EXTREME FORCE. IT RAN OVER A CURB AND
       COLLIDED WITH A TREE AND A TRUCK. THERE WAS ONLY LIGHT PRESSURE ON
13     THE ACCELERATOR. THE AUTOMATIC BRAKING AND THE AIRBAGS DID NOT
       DEPLOY. THERE WAS OVER $18 000 DAMAGE TO THE TWO VEHICLES AND THE
14     TESLA MODEL X IS NOT DRIVEABLE WITHOUT REPAIRS.
15     1 Associated Product
16     Vehicle
17
     MAKE                         MODEL                       YEAR
18
19
     TESLA                        MODEL X                     2016
20
21
22
       February 27, 2017 NHTSA ID NUMBER: 10957394
23
       Components: STRUCTURE, VEHICLE SPEED CONTROL
24
       NHTSA ID Number: 10957394
25
       Incident Date February 27, 2017
26
       Consumer Location MARIETTA, GA
27
       Vehicle Identification Number 5YJXCAE24GF****
28
       Summary of Complaint
                                              42
     SECOND AMENDED CLASS ACTION COMPLAINT
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 1      CRASH Yes

 2      FIRE No

 3      INJURIES 1

 4      DEATHS 0

 5      TAKATA RECALL

 6      I DROVE MY TESLA MODEL X 2016 TODAY TO WORK AND WHEN I WAS ABOUT TO
        PARK THE CAR IN THE PARKING LOT (AROUND 6 MILES PER HOUR MAY BE) IT
 7      SUDDENLY ACCELERATED AND HIT THE CONCRETE WALL AND BOUNCED BACK
        AROUND 8 FEET. SINCE IT WAS FOR PARKING I CAN SURELY SAY THAT I DID NOT
 8      ACCELERATE THE CAR. THE STEERING AIR BAGS AND KNEE AIR BAGS CAME OFF
        AND ALSO THE PASSENGER SIDE KNEE AIR BAGS CAME OFF AS WELL. I SEARCHED
 9      ONLINE AND THERE SEEMS TO BE A CLASS ACTION SUITE ON THIS ISSUE BUT
        TESLA IS NOT ACCEPTING IT AS THE GLITCH IN THEIR SOFTWARE OR SOME OTHER
10      COMPONENT. I FELT LIKE THE ACCELERATOR GOT PRESSED THE WAY WHEN THE
        CAR WAS IN CRUISE MODE. UNLESS I WANTED TO HIT THE WALL INTENTIONALLY
11      THERE WAS NO NEED FOR ME TO PRESS THE ACCELERATOR TO SPEED FROM
        ALMOST ZERO TO WHATEVER THE HIGH SPEED IT ATTAINED AT THE TIME OF
12      HITTING THE WALL.

13      1 Associated Product
14      Vehicle
15
     MAKE                         MODEL                               YEAR
16
17
     TESLA                        MODEL X                             2016
18
19
20                a.    Reports of Sudden Unintended Acceleration are 71 Times Higher
21                      Than Historical Rates for Other Vehicles
22         80.    Tesla sold approximately 18,240 Model X vehicles in the United States from
23   September 29, 2015, through the end of 2016. The Model X having at least 13 reported
24   (either to NHTSA or directly to Tesla) sudden unintended acceleration incidents in the
25   first full year of production with only 18,240 vehicles on the road (most of which have
26   been on the road significantly less than one year) results in a rate of 71 SUA events per
27   100,000 vehicles per year.
28

                                                  43
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 1         81.    In contrast, according to a study by NASA of unintended acceleration
 2   reports to the National Highway Traffic Administration from 2000 to 2010, from there
 3   was 1 SUA accident per 100,000 vehicles per year. Accordingly, the Model X is reported
 4   to experience 71 times as many SUA events as the average number of reported SUA
 5   events for other manufacturers.
 6         82.    Rather than correcting the defect through programmatic logic, Tesla’s
 7   strategy in responding to SUA complaints has been to blame any report of SUA on driver
 8   error. For example, Tesla was notified by the Model X owner of the first SUA incident
 9   registered in the NHTSA complaints database. After performing an investigation, Tesla
10   seized on a nearly identical conclusion that it reached in its investigation of Plaintiffs’
11   incident, stating:
12                 “We analyzed the vehicle logs which confirm that this Model X
                   was operating correctly under manual control and was never in
13                 Autopilot or cruise control at the time of the incident or in the
                   minutes before. Data shows that the vehicle was traveling at 6
14                 mph when the accelerator pedal was abruptly increased to
                   100%. Consistent with the driver's actions, the vehicle applied
15                 torque and accelerated as instructed. Safety is the top priority at
                   Tesla and we engineer and build our cars with this foremost in
16                 mind. We are pleased that the driver is ok and ask our
                   customers to exercise safe behavior when using our vehicles.”
17
18   D.    Plaintiff Ji Chang Son’s and Plaintiff K.M.S.’s SUA Event
19         83.    On September 10, 2016, Plaintiff Ji Chang Son was returning to his Orange
20   County home in his Model X with his son, Plaintiff K.M.S.
21         84.    At approximately 8:00 p.m., Plaintiff Ji Chang Son slowed his vehicle to
22   approximately 6 miles per hour and made a left turn easing into his driveway the garage
23   after the door opened, just as he had done on countless prior occasions.
24         85.    Except that this time, as Plaintiff Ji Chang Son slowly pulled into his
25   driveway, the vehicle spontaneously began to accelerate at full power, jerking forward
26   and crashing through the interior wall of the garage, destroying several wooden support
27   beams in the wall and a steel sewer pipe, among other things, and coming to rest in
28

                                                   44
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 1   Plaintiffs’ living room. Plaintiffs were trapped inside the vehicle because the doors were
 2   pinned shut by wood support beams and other debris.
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18         86.    Smoke began flooding the interior of the vehicle. Plaintiff Ji Chang Son and
19   Plaintiff K.M.S. feared that the Model X was about to explode and burst into flames and
20   furiously sought other ways to escape the vehicle.
21         87.    Fortunately, Plaintiff K.M.S. managed to open a window and crawl out. He
22   ran to the other side of the Model X and struggled to force the window open on Plaintiff
23   Ji Chang Son's side of the vehicle. As the smoke continued to fill the Model X's interior
24   and now the entire living room, Plaintiff K.M.S. courageously helped his father Plaintiff
25   Ji Chang Son escape from the vehicle.
26         88.    Both Plaintiff Son and Plaintiff K.M.S. suffered lacerations to their legs in
27   the collision, with residual scarring.
28

                                                  45
     SECOND AMENDED CLASS ACTION COMPLAINT
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 1         89.    Plaintiff Son immediately notified Tesla of the incident and that the vehicle
 2   had exhibit sudden unintended acceleration as he was pulling into his driveway. Tesla
 3   responded by stating that the “vehicle responded correctly to driver-applied inputs” even
 4   though acknowledging that Mr. Son had made a left turn into his driveway at less than 5
 5   miles per hour, and had not been pressing the accelerator pedal for the preceding 4
 6   seconds, when the computer registered a 100% acceleration command the second before
 7   the vehicle collided with the back wall of his garage.
 8   E.    Plaintiff Khansari’s SUA Event
 9         90.    On January 26, 2016, Plaintiff Khansari was the driver of his Model S
10   traveling north on Interstate 5 in Orange County, California. Plaintiff Khansari exited the
11   interstate at Oso Parkway and pulled into a Union 76 gas station.
12         91.    Plaintiff Khansari drove past the gas pumps intended to park his vehicle in a
13   parking spot. As Plaintiff Khansari neared the parking spot, his Model S experienced
14   uncommanded full power acceleration, causing the vehicle to crash into a fixed barrier.
15
16
17
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26
27         92.    Plaintiff Khansari notified Tesla of the incident and that he believed the
28   vehicle had exhibited sudden unintended acceleration. However, Tesla told Plaintiff

                                                  46
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 1   Khansari that the vehicle “was operating within normal operating parameters, did not
 2   exhibit any unexpected behavior and appropriately responded to the driver-applied
 3   inputs.” Tesla acknowledged that the vehicle had been traveling at 4 miles per hour when
 4   the vehicles onboard computer determined that the accelerator went from 0% to 100% in
 5   under three seconds, accelerating the vehicle to 16 miles per hour at the point of impact,
 6   and then continued to register 100% acceleration for 4 seconds after the impact. Tesla
 7   maintained that the acceleration was the result of driver input even while acknowledging
 8   that the brakes were pressed intermittently at the same time that the vehicle was
 9   exhibiting full acceleration.
10   F.    Plaintiff Jarrahi’s Vehicle’s SUA Event
11         93.    On December 5, 2016, Plaintiff Jarrahi’s wife was the driver of Plaintiff
12   Jarrahi’s Model X near the Forsyth County Day School. Plaintiff Jarrahi’s wife was
13   driving westbound on State Route 1001 and had come to a complete stop as she waited
14   for a crossing guard to allow her to make a right turn onto PVA Forsyth County Day. As
15   she commenced her turn, the vehicle accelerated at what felt like full power. As a result
16   of the powerful acceleration, Plaintiff Jarrahi’s wife was unable to negotiate the right
17   hand turn and her vehicle collided with a vehicle in the southbound lanes of PVA Forsyth
18   Country Day, causing her air bags to deploy.
19         94.    Plaintiff Jarrahi notified Tesla of the SUA incident.
20   G.    Plaintiff Tomko’s Vehicle’s SUA Incidents
21         95.    On October 15, 2016, Plaintiff Tomko’s wife was driving Plaintiff Tomko’s
22   Model S slowly in a parking lot and was preparing to stop when the vehicle experienced
23   uncommanded acceleration, causing the vehicle to surge forward, out of the parking lot
24   and into a wooded area. The vehicle suffered minor damage and had to be towed out of
25   the wooded area.
26         96.    Plaintiff Tomko notified Tesla of the SUA incident. After uploading data
27   from the vehicle’s onboard computers, Tesla informed Plaintiff Tomko that the vehicle
28   had gone from 0% acceleration to 100% acceleration, that the vehicle had not

                                                  47
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 1   malfunctioned, and concluded that the vehicle was appropriately responding to driver
 2   input.
 3            97.   On January 20, 2017, Plaintiff Tomko’s spouse was again driving Plaintiff
 4   Tomko’s Model S in a parking lot and preparing to park when it again experienced
 5   uncommanded acceleration and surged forward, jumping a parking block and traveling
 6   50 feet before she was able to bring the vehicle to a stop.
 7            98.   Plaintiff Tomko again notified Tesla of the SUA incident. After uploading
 8   data from the vehicle’s onboard computers and inspecting the vehicle, Tesla again
 9   informed Plaintiff Tomko that the car had gone from 4% acceleration to 100%
10   acceleration and again attributed the incident to driver input.
11   H.       Plaintiff Shastrula’s SUA Incident
12            99.   On February 27, 2017, Plaintiff Shastrula was driving his Model X in a
13   parking structure at his office. As Plaintiff Shastrula approached his intended parking
14   spot, he slowed the vehicle and made a left turn into the parking spot. He completed the
15   left turn and was advancing the last few feet into the spot when his Model X experienced
16   uncommanded full power acceleration and collided with a concrete wall, causing the
17   airbags to deploy.
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16   I.    Plaintiff Helman’s Vehicle’s SUA Incident
17         100. On May 17, 2017, Plaintiff Helman’s wife was driving his Model S
18   returning home with their 8 year old son from a softball game. Plaintiff Helman’s wife
19   was pulling into the driveway of their home and was about to back into their garage when
20   the Model S experienced uncommanded full power acceleration, travelling approximately
21   60 feet before Plaintiff Helman’s wife was able to bring the vehicle to a stop, feet away
22   from colliding with their neighbor’s home.
23   J.    Plaintiff Waldemar’s SUA Incident
24         101. On February 14, 2017, Plaintiff Waldemar was driving her Model S while
25   attempting to park her Model S at a Pet Smart in Lake Park, Florida. Plaintiff Waldemar
26   made a left turn into a parking spot and had her foot on the brake as the vehicle was
27   creeping into the parking spot when she felt the vehicle surge forward. She applied the
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 1   break which prevented the car from propelling forward. After she placed the car in park
 2   it jumped a curb, traveled up an embankment and struck a tree.
 3   K.    Defects in the Model S and Model X
 4         102. The Model S and Model X – designed, manufactured, sold, and/or
 5   distributed by Tesla – are defective in that they are vulnerable to incidents of sudden full
 6   power unintended acceleration. Regardless of the many root causes that may create this
 7   overarching defect, an effective automated emergency braking and/or automated throttle
 8   control mechanism would serve as a fail-safe design feature to prevent and/or minimize
 9   the risk of injury, harm, or damage to Tesla owners, occupants, and the general public
10   form SUA events.
11         103. Tesla has been aware that SUA events are occurring at a markedly high rate
12   in the Model S, and an even more alarmingly high rate in the Model X, but has not, as of
13   yet, explained the root cause of this dramatic increase in SUA events. This made it
14   critically important for Tesla to design and implement an adequate fail-safe system to
15   prevent or mitigate the consequences of SUA. Therefore, the Model S and the Model X
16   are defective for their lack of an adequate fail safe system as a result of the following:
17             a. The inability of the Automated Emergency Braking system to be able to
18                detect when full acceleration has not been commanded by the driver;
19             b. The Automated Emergency Braking system’s identification of 100%
20                accelerator pedal input as an indicator of positive driver control that
21                automatically renders the Automated Emergency Braking system
22                inoperative;
23             c. The lack of a proper fail-safe logic that will cut power and apply the brakes
24                when the vehicle registers full power acceleration when there are fixed
25                objects in the immediate path of the vehicle; and
26             d. The lack of a proper fault detection system that would recognize an SUA
27                event beyond the maximum design tolerance and respond by shutting down
28                the throttle.

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 1         104. Finally, the faults and defects in Tesla’s safety critical vehicle electronic
 2   systems described above show that Tesla has not properly tested or validated these
 3   systems individually or as a whole and, moreover, Tesla has failed to verify that all
 4   electronic vehicle systems capable of requesting torque are robust enough, and contain
 5   sufficient redundancies to prevent SUA events.
 6   L.    Choice of Law Allegations
 7         105. Tesla is headquartered in Palo Alto, California.
 8         106. Tesla does substantial business in California, with a significant portion of
 9   the proposed Nationwide Class located in California. For example, approximately 45%
10   of all new Tesla Model S sales come from California, and it is expected a similar
11   percentage of Model X sales are from California.
12         107. Tesla’s main automobile manufacturing facility is also located in California.
13         108. In addition, the conduct that forms the basis for each and every Class
14   members’ claims against Tesla emanated from Tesla’s headquarters in California.
15                                                V
16                                   CLASS ALLEGATIONS
17         109. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
18   bring this action on their own behalf, and on behalf of a nationwide class pursuant to
19   Federal Rules of Civil Procedure, Rules 23(a), 23(b)(2), and/or 23(b)(3).
20                Nationwide Class:
21                All persons or entities in the United States who are current
                  owners and/or lessees of a Tesla Model S or Model X, and all
22                former owners and/or lessees of a Tesla Model S or Model X
                  that experienced a sudden unintended acceleration incident.
23
24         110. In the alternative to the Nationwide Class, and pursuant to Federal Rules of
25   Civil Procedure, Rule 23(c)(5), Plaintiffs allege a separate class for the following States
26   based on the applicable laws set forth in the alternate state law counts, only in the event
27   that the Court declines to certify the Nationwide Class above. Specifically, the state
28   classes consist of the following:

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 1                California Class:
 2                All persons or entities in California who are current owners
                  and/or lessees of a Tesla Model S or Model X for primarily
 3                personal, family or household purposes, as defined by
                  California Civil Code § 1791(a).
 4
                  Florida:
 5
                  All persons or entities in Florida who are current owners and/or
 6                lessees of a Tesla Model S or Model X and all former owners
                  and/or lessees of a Tesla Model S or Model X that experienced
 7                a sudden unintended acceleration incident.
 8                Georgia Class:
 9                All persons or entities in Georgia who are current owners
                  and/or lessees of a Tesla Model S or Model X and all former
10                owners and/or lessees of a Tesla Model S or Model X that
                  experienced a sudden unintended acceleration incident.
11
                  New Jersey:
12
                  All persons or entities in New Jersey who are current owners
13                and/or lessees of a Tesla Model S or Model X and all former
                  owners and/or lessees of a Tesla Model S or Model X that
14                experienced a sudden unintended acceleration incident.
15                North Carolina:
16                All persons or entities in North Carolina who are current
                  owners and/or lessees of a Tesla Model S or Model X and all
17                former owners and/or lessees of a Tesla Model S or Model X
                  that experienced a sudden unintended acceleration incident.
18
                  Ohio:
19
                  All persons or entities in Ohio who are current owners and/or
20                lessees of a Tesla Model S or Model X and all former owners
                  and/or lessees of a Tesla Model S or Model X that experienced
21                a sudden unintended acceleration incident.
22         111. Together, the Nationwide Class and the State Classes shall be collectively
23   referred to herein as the “Class.” Excluded from the Class are Defendant Tesla, its
24   affiliates, employees, officers and directors, persons or entities that purchased the Class
25   Vehicles for resale, and the Judge(s) assigned to this case. Plaintiffs reserve the right to
26   modify, change, or expand the Class definitions based on discovery and further
27   investigation.
28

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 1         112. Numerosity: Upon information and belief, the Class is so numerous that
 2   joinder of all members is impracticable. While the exact number and identities of
 3   individual members of the Class are unknown at this time, such information being in the
 4   sole possession of Tesla and obtainable by Plaintiff Son only through the discovery
 5   process, Plaintiffs believe, and on that basis allege, that thousands of Class Vehicles have
 6   been sold and leased in each of the States that are the subject of the Class.
 7         113. Existence and Predominance of Common Questions of Fact and Law:
 8   Common questions of law and fact exist as to all members of the Class. These questions
 9   predominate over the questions affecting individual Class Members. These common
10   legal and factual questions include, but are not limited to, whether:
11             a. the Model S and Model X vehicles were sold or leased with a defect;
12             b. Tesla knew of the defect but failed to disclose the problem and its
                  consequences to its customers;
13
               c. Tesla misrepresented the safety of the Model S and Model X;
14
               d. Tesla’s misrepresentations and omissions regarding the safety of its
15                vehicles were likely to deceive a reasonable person in violation of the
                  CLRA;
16
               e. Tesla violated the unlawful prong of the UCL by its violation of the
17                CLRA;
18             f. Tesla violated the unlawful prong of the UCL by its violation of
                  federal laws;
19
               g. misrepresentations and omissions regarding the safety of its vehicles
20                were likely to deceive a reasonable person in violation of the
                  fraudulent prong of the UCL;
21
               h. reasonable consumers would consider the defect or its consequences
22                to be material;
23             i. Tesla breached its express warranties regarding the safety and quality
                  of its vehicles;
24
               j. Tesla breached the implied warranty of merchantability because its
25                vehicles were not fit for their ordinary purpose due to their sudden
                  acceleration defect;
26
               k. Tesla has failed to provide free repairs as required by its New Vehicle
27                Limited Warranty and/or Powertrain Warranty;
28             l. Tesla should be required to disclose the existence of the defect;

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 1             m. Whether Plaintiffs and Class Members are entitled to damages,
                  restitution, restitutionary disgorgement, equitable relief, and/or other
 2                relief; and
 3             n. The amount and nature of such relief to be awarded to Plaintiffs and
                  the National Class.
 4
 5         114. Typicality: All of Plaintiffs’ claims are typical of the claims of the Class
 6   inasmuch as Plaintiffs purchased or leased a Tesla Model S or Model X vehicle, and each
 7   member of the Class either purchased or leased a Tesla Model S or Model X vehicle.
 8   Furthermore, Plaintiffs and all members of the Class sustained the same monetary and
 9   economic injuries of being sold a vehicle with a safety defect that is still present in the
10   vehicle, and the remedy sought for each is the same in which Plaintiffs seek a fix of the
11   defect for themselves and all absent Class Members.
12         115. Adequacy: Plaintiffs are adequate representatives because their interests do
13   not conflict with the interests of the Class that they seek to represent, they have retained
14   counsel competent and highly experienced in complex class action litigation, and they
15   intend to prosecute this action vigorously. The interests of the Class will be fairly and
16   adequately protected by Plaintiffs and their counsel.
17         116. Superiority: A class action is superior to all other available means of fair
18   and efficient adjudication of the claims of Plaintiffs and members of the Class. The
19   injury suffered by each individual Class member is relatively small in comparison to the
20   burden and expense of individual prosecution of the complex and extensive litigation
21   necessitated by Defendant Tesla’s conduct. It would be virtually impossible for members
22   of the Class individually to redress effectively the wrongs done to them. Even if the
23   members of the Class could afford such individual litigation, the court system could not.
24   Individualized litigation presents a potential for inconsistent or contradictory judgments.
25   Individualized litigation increases the delay and expense to all parties, and to the court
26   system, presented by the complex legal and factual issues of the case. By contrast, the
27   class action device presents far fewer management difficulties, and provides the benefits
28   of single adjudication, an economy of scale, and comprehensive supervision by a single

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 1   court. Upon information and belief, members of the Class can be readily identified and
 2   notified based on, inter alia, Tesla’s vehicle identification numbers, warranty claims,
 3   registration records, and database of complaints.
 4         117. Tesla has acted, and refused to act, on grounds generally applicable to the
 5   Class, thereby making appropriate final equitable relief with respect to the Class as a
 6   whole.
 7                                               VI
 8                                    CAUSES OF ACTION
 9                                 FIRST CAUSE OF ACTION
10   VIOLATIONS OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT
11                       (“CLRA”) (Cal. Civ. Code § 1750, et seq.)
12    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
13   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
14                              on Behalf of the California Class)
15         118. Plaintiffs and the Class incorporate by reference each preceding and
16   succeeding paragraph as though fully set forth at length herein.
17         119. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
18   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
19   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
20   themselves and on behalf of the Members of the California Class.
21         120. Tesla is a “person” as that term is defined in California Civil Code
22   § 1761(c).
23         121. Plaintiffs and the Class are “consumers” as that term is defined in California
24   Civil Code § 1761(d).
25         122. Plaintiff Son previously filed an affidavit that shows venue in this District is
26   proper, to the extent such an affidavit is required by California Civil Code § 1780(d).
27         123. Tesla engaged in unfair and deceptive acts in violation of the CLRA by the
28   practices described above, and by knowingly and intentionally concealing from Plaintiffs
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 1   and Class Members that the Model S and Model X suffer from a defect(s) (and the costs,
 2   risks, and diminished value of the vehicles as a result of this problem). These acts and
 3   practices violate, at a minimum, the following sections of the CLRA:
 4
                  (a)(1) Representing that Defective Vehicles have
 5                characteristics, uses, benefits, and qualities which they do not
                  have
 6
                  (a)(2) Misrepresenting the source, sponsorship, approval or
 7                certification of goods or services;
 8                (a)(5) Representing that goods or services have sponsorships,
                  characteristics, uses, benefits or quantities which they do not
 9                have, or that a person has a sponsorship, approval, status,
                  affiliation or connection which he or she does not have;
10
                  (a)(7) Representing that goods or services are of a particular
11                standard, quality, or grade, or that goods are of a particular style
                  or model, if they are of another; and
12
                  (a)(9) Advertising goods and services with the intent not to sell
13                them as advertised.
14         124. Tesla’s unfair or deceptive acts or practices occurred repeatedly in Tesla’s
15   trade or business, were capable of deceiving a substantial portion of the purchasing
16   public, and imposed a serious safety risk on the public.
17         125. Tesla knew that the Model S and Model X were defectively designed or
18   manufactured, unsafe, and were not suitable for their intended use.
19         126. Tesla knew that the Model S and Model X were defectively designed or
20   manufactured, would fail without warning, and were not suitable for their intended use of
21   regulating power and vehicle speed based on driver commands. Tesla nevertheless failed
22   to warn Plaintiffs and the Class Members about these inherent dangers despite having a
23   duty to do so.
24         127. Tesla owed Plaintiffs a duty to disclose the defective nature of Model S and
25   Model X, including the dangerous risk of throttle control failure and the lack of adequate
26   fail-safe mechanisms, because they:
27            a. Possessed exclusive knowledge of the defects rendering the Model S and
28                Model X inherently more dangerous and unreliable than similar vehicles;

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 1             b. Intentionally concealed the hazardous situation with Model S and Model X
 2                vehicles through its deceptive marketing campaign designed to hide the life-
 3                threatening problems from Plaintiffs; and/or
 4             c. Made incomplete representations about the safety and reliability of the
 5                Model S and Model X generally, while purposefully withholding material
 6                facts from Plaintiffs that contradicted these representations.
 7         128. The Model S and Model X vehicles pose an unreasonable risk of death or
 8   serious bodily injury to Plaintiffs, passengers, other motorists, pedestrians, and the public
 9   at large, because they are susceptible to incidents of SUA.
10         129. Whether or not a vehicle (a) accelerates only when commanded to do so;
11   (b) accelerates when it knows will result in the collision with a fixed object; and (c) does
12   not activate the automatic emergency braking when it receives instructions to accelerate
13   100% into a fixed object are facts that a reasonable consumer would consider important
14   in selecting a vehicle to purchase or lease.
15         130. When Plaintiffs bought leased their Model S or Model X for personal,
16   family, and household purposes, they reasonably expected the vehicle would (a) not
17   accelerate unless commanded to do so by application of the accelerator pedal or other
18   driver controlled means; (b) would not accelerate when it knows will result in the
19   collision with a fixed object; and (c) would not deactivate the automatic emergency
20   braking when it receives instructions to accelerate 100% into a fixed object.
21         131.    Tesla’s unfair or deceptive acts or practices were likely to and did in fact
22   deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of
23   Defective Vehicles.
24         132. As a result of its violations of the CLRA detailed above, Tesla caused actual
25   damage to Plaintiffs and, if not stopped, will continue to harm Plaintiffs. Plaintiffs and
26   the Class Members currently own or lease, or within the class period have owned or
27   leased, a Model S or Model X that is defective and inherently unsafe.
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 1         133. Plaintiffs risk irreparable injury as a result of Tesla’s acts and omissions in
 2   violation of the CLRA, and these violations present a continuing risk to Plaintiffs as well
 3   as to the general public.
 4         134. The facts concealed or not disclosed by Tesla to Plaintiffs and the Class
 5   Members are material in that a reasonable consumer would have considered them to be
 6   important in deciding whether to purchase the Model S or Model X or pay a lesser price.
 7   Had Plaintiffs and the Class Members known about the defective nature of the Model S
 8   and Model X, they would not have purchased the Model S or Model X or would have
 9   paid less for them.
10         135. Plaintiffs’ and the other Class Members’ injuries were proximately caused
11   by Tesla’s fraudulent and deceptive business practices.
12         136. Pursuant to the provisions of California Civil Code section 1782(a),
13   Plaintiffs sent a notice letter to Tesla providing it with the opportunity to correct its
14   business practices. To Plaintiffs’ knowledge, Tesla no action within the specified notice
15   period.
16         137. Pursuant to California Civil Code section 1780, Plaintiffs, on behalf of
17   themselves and Members of the California Class, seek an order from this Court enjoining
18   Tesla from continuing the methods, acts and practices set forth above and a declaration
19   that Tesla’s conduct violates the Consumers Legal Remedies Act, as well as actual and
20   punitive damages and attorneys’ fees and costs.
21                                  SECOND CAUSE OF ACTION
22     VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
23                               (Cal. Bus. & Prof. Code § 17200)
24    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
25   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
26                                 on Behalf of the California Class)
27         138. Plaintiffs’ and the Class incorporate by reference each preceding and
28   succeeding paragraph as though fully set forth at length herein.

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 1         139. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
 2   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
 3   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
 4   themselves and on behalf of the Members of the California Class.
 5         140. The California Unfair Competition Law (“UCL”) prohibits acts of “unfair
 6   competition,” including any “unlawful, unfair or fraudulent business act or practice” and
 7   “unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code § 17200.
 8         141. Tesla has violated the unlawful prong of section 17200 by its violations of
 9   the Consumer Legal Remedies Act, Cal. Civ. Code § 1750, et seq., as set forth in Count I
10   by the acts and practices set forth in this Complaint.
11         142. Tesla has violated the fraudulent prong of section 17200 because the
12   misrepresentations and omissions regarding the safety and reliability of its vehicles as set
13   forth in this Complaint were likely to deceive a reasonable consumer, and the information
14   would be material to a reasonable consumer.
15         143. Tesla has violated the unfair prong of section 17200 because the acts and
16   practices set forth in the Complaint, including the manufacture and sale of vehicles with a
17   sudden acceleration defect that lack effective fail-safe mechanism, and Tesla’s failure to
18   adequately investigate, disclose and remedy, offend established public policy, and
19   because the harm they cause to consumers greatly outweighs any benefits associated with
20   those practices.
21         144. Tesla’s conduct has also impaired competition within the automotive
22   vehicles market and has prevented Plaintiff from making fully informed decisions about
23   whether to purchase or lease Defective Vehicles and/or the price to be paid to purchase or
24   lease Defective Vehicles.
25         145. Plaintiffs have suffered an injury in fact, including the loss of money or
26   property, as a result of Tesla’s unfair, unlawful and/or deceptive practices. As set forth in
27   the allegations concerning Plaintiffs, in purchasing or leasing their Tesla vehicle,
28   Plaintiffs relied on the misrepresentations and/or omissions of Tesla with respect of the

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 1   safety and reliability of the vehicles. Tesla’s representations turned out not to be true
 2   because the vehicles can unexpectedly and dangerously accelerate out of the drivers’
 3   control. Had Plaintiffs known this, they would not have purchased or leased their Tesla
 4   vehicles and/or paid as much for them.
 5         146. All of the wrongful conduct alleged herein occurred, and continues to occur,
 6   in the conduct of Tesla’s business. Tesla’s wrongful conduct is part of a pattern or
 7   generalized course of conduct that is still perpetuated and repeated, both in the State of
 8   California and nationwide.
 9         147. Plaintiffs request that this Court enter such orders or judgments as may be
10   necessary to enjoin Tesla from continuing its unfair, unlawful, and/or deceptive practices
11   and to restore to Plaintiffs and members of the Class any money Tesla acquired by unfair
12   competition, including restitution and/or restitutionary disgorgement, as provided in
13   California Business & Professions Code section 17203 and California Civil Code section
14   3345; and for such other relief set forth below.
15                                  THIRD CAUSE OF ACTION
16              VIOLATION OF CALIFORNIA FALSE ADVERTISING LAW
17                            (Cal. Bus. & Prof. Code §§ 17500, et seq.)
18    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
19   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
20                                on Behalf of the California Class)
21         148. Plaintiffs and the Class incorporate by reference each preceding and
22   succeeding paragraph as though fully set forth at length herein.
23         149. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
24   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
25   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
26   themselves and on behalf of the Members of the California Class.
27         150. California Business & Professions Code section 17500 states: “It is
28   unlawful for any . . . corporation . . . with intent directly or indirectly to dispose of real or

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 1   personal property . . . to induce the public to enter into any obligation relating thereto, to
 2   make or disseminate or cause to be made or disseminated . . . from this state before the
 3   public in any state, in any newspaper or other publication, or any advertising device, . . .
 4   or in any other manner or means whatever, including over the Internet, any statement . . .
 5   which is untrue or misleading, and which is known, or which by the exercise of
 6   reasonable care should be known, to be untrue or misleading.”
 7         151. Tesla caused to be made or disseminated throughout California and the
 8   United States, through advertising, marketing and other publications, statements that
 9   were untrue or misleading, and which were known, or which by the exercise of
10   reasonable care should have been known to Tesla, to be untrue and misleading to
11   consumers, including Plaintiffs and the other Class Members.
12         152. Tesla has violated section 17500 because the misrepresentations and
13   omissions regarding the safety, reliability, and functionality of its Model S and Model X
14   vehicles as set forth in this Complaint were material and likely to deceive a reasonable
15   consumer.
16         153. Plaintiffs and the other Class Members have suffered an injury in fact,
17   including the loss of money or property, as a result of Tesla’s unfair, unlawful, and/or
18   deceptive practices. In purchasing and/or leasing their Tesla vehicles, Plaintiffs and the
19   other Class Members relied on the misrepresentations and/or omissions of Tesla with
20   respect to the safety and reliability of such vehicles. Tesla’s representations turned out
21   not to be true because the vehicles can unexpectedly and dangerously accelerate out of
22   the driver’s control; the vehicle implements a full acceleration instruction into a fixed
23   object; and fails to use automatic emergency braking. Had Plaintiffs and the other Class
24   Members known this, they would not have purchased or leased their Class Vehicles
25   and/or paid as much for them. Accordingly, Plaintiffs and the other Class Members
26   overpaid for their Class Vehicles and did not receive the benefit of their bargain.
27         154. All of the wrongful conduct alleged herein occurred, and continues to occur,
28   in the conduct of Tesla’s business. Tesla’s wrongful conduct is part of a pattern or

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 1   generalized course of conduct that is still perpetuated and repeated, both in the state of
 2   California and nationwide.
 3         155. Plaintiffs, individually and on behalf of the other Class Members, requests
 4   that this Court enter such orders or judgments as may be necessary to enjoin Tesla from
 5   continuing their unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs
 6   and the other Class Members any money Tesla acquired by unfair competition, including
 7   restitution and/or restitutionary disgorgement, and for such other relief set forth below.
 8                                FOURTH CAUSE OF ACTION
 9                           BREACH OF EXPRESS WARRANTY
10    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
11   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
12                                on Behalf of the California Class)
13         156. Plaintiffs and the Class incorporate by reference each preceding and
14   succeeding paragraph as though fully set forth at length herein.
15         157. Plaintiffs Son, Khansari, Jarrahi, Tomko, Shastrula, Helman, and Waldemar
16   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
17   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
18   themselves and on behalf of the Members of the California Class.
19         158.    Tesla is and was at all relevant times a merchant with respect to motor
20   vehicles under California Commercial Code section 2104.
21         159. Tesla provided all purchasers and lessees of the Model S and Model X
22   vehicles with the express warranties described herein, which became part of the basis of
23   the bargain. Accordingly, Tesla’s warranties are express warranties under state law.
24         160. Furthermore, Plaintiffs were exposed to Tesla’s marketing statements
25   regarding the safety of the Class Vehicles and the collision avoidance systems with which
26   they were equipped, as alleged in paragraphs 18, 37, 40, 43, 46, 49, 52, 55, and 67-75,
27   herein.
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 1         161. In the course of selling its vehicles, Tesla expressly warranted in writing that
 2   its vehicles were covered by a Basic Warranty that provided: “the Basic Vehicle Limited
 3   Warranty covers the repair or replacement necessary to correct defects in the materials or
 4   workmanship of any parts manufactured or supplied by Tesla that occur under normal use
 5   for a period of 4 years or 50,000 miles (80,000 km), whichever comes first.”
 6         162. The parts affected by the defect, including the accelerator control system and
 7   Automated Emergency Braking, were distributed by Tesla in the Model S and Model X
 8   and are covered by the warranties Tesla provided to all purchasers and lessors of its
 9   vehicles.
10         163. Tesla breached these warranties by selling and leasing Class Vehicles with
11   the defect, requiring repair or replacement within the applicable warranty periods, and
12   refusing to honor the warranties by providing free repairs or replacements during the
13   applicable warranty periods.
14         164. Plaintiffs notified Tesla of the breach within a reasonable time, and/or were
15   not required to do so because affording Tesla a reasonable opportunity to cure its breach
16   of written warranty would have been futile. Tesla also knew of the defect and yet have
17   chosen to conceal it and to fail to comply with their warranty obligations.
18         165. As a direct and proximate cause of Tesla’s breach, Plaintiffs and the other
19   Class Members bought or leased Class Vehicles they otherwise would not have, overpaid
20   for their vehicles, did not receive the benefit of their bargain, and their Class Vehicles
21   suffered a diminution in value.
22         166. Tesla’s attempt to disclaim or limit these express warranties vis-à-vis
23   consumers is unconscionable and unenforceable under the circumstances here.
24   Specifically, Tesla’s warranty limitation is unenforceable because they knowingly sold a
25   defective product without informing consumers about the defect.
26         167. The time limits contained in Tesla’s warranty period were also
27   unconscionable and inadequate to protect Plaintiffs and members of the Class. Among
28   other things, Plaintiffs and Class Members had no meaningful choice in determining

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 1   these time limitations the terms of which unreasonably favored Tesla. A gross disparity
 2   in bargaining power existed between Tesla and the Class Members, and Tesla knew or
 3   should have known that the Model S and Model X vehicles were defective at the time of
 4   sale and would fail well before the expiration of their useful life.
 5         168. Plaintiffs and the Class Members have complied with all obligations under
 6   the warranty, or otherwise have been excused from performance of said obligations as a
 7   result of Tesla’s conduct described herein.
 8                                  FIFTH CAUSE OF ACTION
 9                            BREACH OF IMPLIED WARRANTY
10    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
11   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
12          on Behalf of the California Class, and by Plaintiff K.M.S., individually)
13         169. Plaintiffs and the Class incorporate by reference each preceding and
14   succeeding paragraph as though fully set forth at length herein.
15         170. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
16   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
17   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
18   themselves and on behalf of the Members of the California Class. Plaintiff K.M.S brings
19   this claims individually.
20         171. Tesla was at all relevant times the manufacturer, distributor, warrantor,
21   and/or seller of the Model S and Model X. Tesla knew or had reason to know of the
22   specific use for which the Model S and Model X vehicles were purchased.
23         172. Tesla provided Plaintiffs and the other Class members with an implied
24   warranty that the Model S and Model X and any parts thereof are merchantable and fit for
25   the ordinary purposes for which they were sold. However, the Model S and Model X
26   vehicles are not fit for their ordinary purpose of providing reasonably reliable and safe
27   transportation at the time of sale or thereafter because, inter alia, there are defects in the
28   vehicle control systems that permit sudden unintended acceleration to occur; the vehicles

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 1   do not have an adequate fail-safe to protect against such SUA events; and the accelerator
 2   control system was not adequately tested to prevent SUA events.
 3         173. Therefore, the Model S and Model X vehicles are not fit for their particular
 4   purpose of providing safe and reliable transportation.
 5         174. Tesla impliedly warranted that the Model S and Model X vehicles were of
 6   merchantable quality and fit for such use. This implied warranty included, among other
 7   things: (i) a warranty that the Model S and Model X vehicles manufactured, supplied,
 8   distributed, and/or sold by Tesla were safe and reliable for providing transportation and
 9   would not experience premature and catastrophic failure; and (ii) a warranty that the
10   Model S and Model X would be fit for its intended use while being operated.
11         175. Contrary to the applicable implied warranties, the Model S and Model X
12   vehicles at the time of sale and thereafter were not fit for their ordinary and intended
13   purpose of providing Plaintiffs and the other Class Members with reliable, durable, and
14   safe transportation. Instead, the Model S and Model X suffer from a defective design(s)
15   and/or manufacturing defect(s).
16         176. Tesla’s actions, as complained of herein, breached the implied warranty that
17   the Class Vehicles were of merchantable quality and fit for such use.
18         177. After Plaintiffs received the injuries complained of herein, notice was given
19   by Plaintiffs to Tesla, by direct communication with Tesla as well as by the filing of this
20   lawsuit in the time and in the manner and in the form prescribed by law, of the breach of
21   said implied warranty.
22         178. As a legal and proximate result of the breach of said implied warranty,
23   Plaintiffs sustained the damages herein set forth.
24         179. Plaintiffs and Class Members are, therefore, entitled to damages in an
25   amount to be proven at the time of trial.
26   //
27   //
28   //

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 1                                SIXTH CAUSE OF ACTION
 2       BREACH OF WRITTEN WARRANTY UNDER THE MAGNUSON-MOSS
 3                                      WARRANTY ACT
 4                                   (15 U.S.C. § 2301, et seq.)
 5    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
 6   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
 7                              on Behalf of the California Class)
 8         180. Plaintiffs and the Class incorporate by reference each preceding and
 9   succeeding paragraph as though fully set forth at length herein.
10         181. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
11   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
12   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
13   themselves and on behalf of the Members of the California Class.
14         182. Plaintiffs and the Class are “consumers” within the meaning of the
15   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
16         183. Defendant Tesla is a “supplier” and “warrantor” within the meaning of 15
17   U.S.C. §§ 2301(4)-(5).
18         184. The Model S and Model X vehicles are “consumer products” within the
19   meaning of 15 U.S.C. § 2301(1).
20         185. Tesla’s 5 year/60,000 miles Basic Warranty and 10 year/100,000 miles
21   Powertrain Warranty are “written warranties” within the meaning of 15 U.S.C. § 2301(6).
22         186. Furthermore, Plaintiffs were exposed to Tesla’s marketing statements
23   regarding the safety of the Class Vehicles and the collision avoidance systems with which
24   they were equipped, as alleged in paragraphs 18, 37, 40, 43, 46, 49, 52, 55, and 67-75,
25   herein.
26         187. Tesla breached these warranties as described in more detail above, but
27   generally by not repairing or adjusting the Defective Vehicles’ materials and
28   workmanship defects; providing Defective Vehicles not in merchantable condition and

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 1   which present an unreasonable risk of sudden unintended acceleration and not fit for the
 2   ordinary purpose for which vehicles are used; providing Vehicles that were not fully
 3   operational, safe, or reliable; and not curing defects and nonconformities once they were
 4   identified.
 5         188. Plaintiffs and Class Members have had sufficient direct dealings with either
 6   the Tesla or its agents to establish privity of contract between Plaintiffs and the Class
 7   members. However, privity is also not required because Plaintiffs’ and Class Members’
 8   Model S and Model X vehicles are dangerous instrumentalities due to the aforementioned
 9   defects and nonconformities.
10         189. Plaintiffs and the other Class Members relied on the existence and length of
11   the express warranties in deciding whether to purchase or lease the Class Vehicles.
12         190. Defendant Tesla’s breach of the express warranties has deprived Plaintiffs
13   and the other Class Members of the benefit of their bargain.
14         191. The amount in controversy of Plaintiffs’ individual claims meets or exceeds
15   the sum or value of $25.00. In addition, the amount in controversy meets or exceeds the
16   sum or value of $50,000 (exclusive of interests and costs) computed on the basis of all
17   claims to be determined in this suit.
18         192. Tesla has been afforded a reasonable opportunity to cure its breach of the
19   written warranties and/or Plaintiffs and the other Class Members were not required to do
20   so because affording Tesla a reasonable opportunity to cure its breach of written
21   warranties would have been futile. Tesla was also on notice of the alleged defect from
22   the complaints and service requests it received from Class Members, as well as from its
23   own warranty claims, customer complaint data, and/or parts sales data.
24         193. As a direct and proximate cause of Tesla’s breach of the written warranties,
25   Plaintiffs and the other Class Members sustained damages and other losses in an amount
26   to be determined at trial. Defendant Tesla’s conduct damaged Plaintiffs and the other
27   Class Members, who are entitled to recover actual damages, consequential damages,
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 1   specific performance, diminution in value, costs, including statutory attorney fees and/or
 2   other relief as deemed appropriate.
 3                               SEVENTH CAUSE OF ACTION
 4                 BREACH OF CONTRACT/COMMON LAW WARRANTY
 5    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
 6   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
 7                               on Behalf of the California Class)
 8           194. Plaintiffs and the Class incorporate by reference each preceding and
 9   succeeding paragraph as though fully set forth at length herein.
10           195. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
11   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
12   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
13   themselves and on behalf of the Members of the California Class. To the extent Tesla’s
14   repair or adjust commitment is deemed not to be a warranty under California’s
15   Commercial Code, Plaintiffs plead in the alternative under common law warranty and
16   contract law. Tesla limited the remedies available to Plaintiffs and the Class Members to
17   just repairs and adjustments needed to correct defects in materials or workmanship of any
18   part supplied by Tesla and/or warranted the quality or nature of those services to
19   Plaintiffs.
20           196. Plaintiffs were exposed to Tesla’s marketing statements regarding the safety
21   of the Class Vehicles and the collision avoidance systems with which they were
22   equipped, as alleged in paragraphs 18, 37, 40, 43, 46, 49, 52, 55, and 67-75, herein.
23           197. Tesla breached this warranty or contract obligation by failing to repair the
24   Model S and Model X evidencing a sudden unintended acceleration problem or to replace
25   them.
26           198. As a direct and proximate result of Tesla’s breach of contract of common
27   law warranty, Plaintiffs and the Class have been damaged in an amount to be proven at
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 1   trial, which shall include, but is not limited to, all compensatory damages, incidental and
 2   consequential damages, and other damages allowed by law.
 3                                 EIGHTH CAUSE OF ACTION
 4    VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT FOR
 5                           BREACH OF EXPRESS WARRANTIES
 6                              (Cal. Civ. Code § 1793.2(d) & 1791.2)
 7    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
 8   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
 9                                on Behalf of the California Class)
10            199. Plaintiffs and the Class incorporate by reference each preceding and
11   succeeding paragraph as though fully set forth at length herein.
12            200. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
13   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
14   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
15   themselves and on behalf of the Members of the California Class.
16            201. Plaintiffs and the Class Members who purchased or leased the Model S and
17   the Model X in California are “buyers” within the meaning of California Civil Code
18   section 1791.
19            202. The Tesla vehicles are “consumer goods” within the meaning of California
20   Civil Code section 1791(a).
21            203. Tesla is a “manufacturer” of the Model S and Model X within the meaning
22   of California Civil Code section 1791(j).
23            204. Plaintiffs and the Class bought/leased new motor vehicles manufactured by
24   Tesla.
25            205. Tesla made express warranties to Plaintiffs and the Class within the meaning
26   of California Civil Code sections 1791.2 and 1793.2, both in its warranty manual and
27   advertising, as described above.
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 1            206. Furthermore, Plaintiffs were exposed to Tesla’s marketing statements
 2   regarding the safety of the Class Vehicles and the collision avoidance systems with which
 3   they were equipped, as alleged in paragraphs 18, 37, 40, 43, 46, 49, 52, 55, and 67-75,
 4   herein.
 5            207. Tesla’s Model S and Model X had and continue to have defects that were
 6   and continue to be covered by Tesla’s express warranties and these defects substantially
 7   impair the use, value, and safety of Tesla’s vehicles to reasonable consumers like
 8   Plaintiffs and the Class.
 9            208. Plaintiffs and the Class delivered their vehicles to Tesla or its authorized
10   repair facility for repair of the defects and/or notified Tesla in writing of the need for
11   repair of the defects because they reasonably could not deliver the vehicles to Tesla or its
12   authorized repair facility due to fear of unintended acceleration.
13            209. Tesla and its authorized repair facilities failed and continue to fail to repair
14   the vehicles to match Tesla’s written warranties after a reasonable number of
15   opportunities to do so.
16            210. Plaintiffs and the Class Members gave Tesla or its authorized repair facilities
17   at least two opportunities to fix the defects unless only one repair attempt was possible
18   because the vehicle was later destroyed or because Tesla or its authorized repair facility
19   refused to attempt the repair.
20            211. Tesla did not promptly replace or buy back the vehicles of Plaintiffs and the
21   Class.
22            212. As a result of Tesla’s breach of its express warranties, Plaintiffs and the
23   Class received goods whose dangerous condition substantially impairs their value to
24   Plaintiffs and the Class. Plaintiffs and the Class have been damaged as a result of the
25   products’ malfunctioning, and the nonuse of their vehicles.
26            213. Pursuant to California Civil Code sections 1793.2 & 1794, Plaintiffs and the
27   Class are entitled to damages and other legal and equitable relief including, at their
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 1   election, the purchase price of their vehicles, or the overpayment or diminution in value
 2   of their vehicles.
 3                                 NINTH CAUSE OF ACTION
 4        VIOLATION OF THE SONG-BEVERLY ACT – BREACH OF IMPLIED
 5                                           WARRANTY
 6                            (Cal. Civ. Code §§ 1792, 1791.1, et seq.)
 7    (By Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
 8   on Behalf of the Nationwide Class or, Alternatively, by Plaintiffs Son and Khansari
 9                               on Behalf of the California Class)
10         214. Plaintiffs and the Class incorporate by reference each preceding and
11   succeeding paragraph as though fully set forth at length herein.
12         215. Plaintiffs Son, Khansari, Shastrula, Jarrahi, Tomko, Helman, and Waldemar
13   bring this claim on behalf of themselves and on behalf of the Members of the Nationwide
14   Class. Alternatively, Plaintiffs Son and Khansari bring this claim on behalf of
15   themselves and on behalf of the Members of the California Class.
16         216. At all relevant times hereto, Tesla was the manufacturer, distributor,
17   warrantor, and/or seller of the Model S and Model X. Tesla knew or should have known
18   of the specific use for which the Model S and Model X vehicles were purchased.
19         217. Tesla provided Plaintiffs and the Class Members with an implied warranty
20   that the Model S and Model X vehicles, and any parts thereof, are merchantable and fit
21   for the ordinary purposes for which they were sold. However, the Model S and Model X
22   vehicles are not fit for their ordinary purpose of providing reasonably reliable and safe
23   transportation at the time of sale or thereafter because, inter alia, there are defects in the
24   vehicle control systems that permit sudden unintended acceleration to occur; the vehicles
25   do not have an adequate fail-safe to protect against such SUA events; and the accelerator
26   control system was not adequately tested.
27         218. The Model S and Model X vehicles are not fit for the purpose of providing
28   safe and reliable transportation because of the defect.

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 1         219. Tesla impliedly warranted that the Model S and Model X vehicles were of
 2   merchantable quality and fit for such use. This implied warranty included, among other
 3   things: (i) a warranty that the Model S and Model X vehicles manufactured, supplied,
 4   distributed, and/or sold by Tesla were safe and reliable for providing transportation and
 5   would not experience premature and catastrophic failure; and (ii) a warranty that the
 6   Model S and Model X would be fit for their intended use while being operated.
 7         220. Contrary to the applicable implied warranties, the Model S and Model X
 8   vehicles at the time of sale and thereafter were not fit for their ordinary and intended
 9   purpose of providing Plaintiffs and the other Class Members with reliable, durable, and
10   safe transportation. Instead, the Model S and Model X suffer from a defective design(s)
11   and/or manufacturing defect(s). Tesla’s actions, as complained of herein, breached the
12   implied warranty that the Class Vehicles were of merchantable quality and fit for such
13   use in violation of California Civil Code sections 1792 and 1791.1.
14                                TENTH CAUSE OF ACTION
15                               STRICT PRODUCT LIABILITY
16                         (By Plaintiffs Son and K.M.S., Individually)
17         221. Plaintiffs and the Class incorporate by reference each preceding and
18   succeeding paragraph as though fully set forth at length herein.
19         222. Plaintiffs Son and K.M.S., individually, are informed and believe and based
20   thereon allege that Tesla designed, manufactured, researched, tested, assembled,
21   installed, marketed, advertised, distributed, and sold a certain 2016 Tesla Model X,
22   bearing Vehicle Identification Number 5YJXCBE27GF009026 (hereinafter referred to as
23   the “subject vehicle”).
24         223. At all times relevant hereto, Tesla knew that the subject vehicle would be
25   operated and inhabited by consumers without inspection for defects.
26         224. At the time of the collision described above, the subject vehicle was being
27   used in a manner and fashion that was foreseeable by Tesla, and in a manner in which it
28   was intended to be used.

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 1         225. Tesla designed, engineered, developed, manufactured, fabricated,
 2   assembled, equipped, tested or failed to test, inspected or failed to inspect, repaired,
 3   retrofitted or failed to retrofit, failed to recall, labeled, advertised, promoted, marketed,
 4   supplied, distributed, wholesaled, and sold the subject vehicle and its component parts
 5   and constituents, which was intended by Tesla to be used for the purpose of use as a
 6   passenger vehicle, and other related activities.
 7         226. The subject vehicle was unsafe for its intended use by reason of defects in its
 8   manufacture, design, testing, components and constituents, so that it would not safely
 9   serve its purpose, but would instead expose the users of said product, and others, to
10   serious injuries because of the failure of Tesla to properly guard and protect the users of
11   the subject vehicle, and others, from the defective design of said product.
12         227. Tesla designed the subject vehicle defectively, causing it to fail to perform
13   as safely as an ordinary consumer would expect when used in an intended or reasonably
14   foreseeable manner.
15         228. The risks inherent in the design of the subject vehicle outweigh significantly
16   any benefits of such design.
17         229. Plaintiffs were not aware of the aforementioned defects.
18         230. As a legal and proximate result of the aforementioned defects of the subject
19   vehicle, Plaintiffs Son and K.M.S. sustained the injuries and damages set forth herein.
20         231. Plaintiffs Son and K.M.S. are, therefore, entitled to damages in an amount to
21   be proven at the time of trial.
22                               ELEVENTH CAUSE OF ACTION
23                                          NEGLIGENCE
24                          (By Plaintiffs Son and K.M.S., Individually)
25         232. Plaintiffs and the Class incorporate by reference each preceding and
26   succeeding paragraph as though fully set forth at length herein.
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 1         233. At all times herein mentioned, Tesla designed, manufactured, assembled,
 2   analyzed, recommended, merchandised, advertised, promoted, distributed, supplied, and
 3   sold to distributors and retailers for sale, the subject vehicle and/or its component parts.
 4         234. Tesla owed Plaintiffs Son and K.M.S. a duty to exercise reasonable care in
 5   the design, testing, manufacture, assembly, sale, distribution and servicing of the subject
 6   vehicle, including a duty to ensure that the subject vehicle did not cause Plaintiffs Son
 7   and K.M.S., other users, bystanders, or the public, unnecessary injuries or deaths.
 8         235. Tesla knew or should have known that the subject vehicle is defectively
 9   designed and inherently dangerous and has a propensity to suddenly accelerate, lose
10   control, and cause injuries.
11         236. Tesla knew or should have known that the subject vehicle was defectively
12   designed and/or manufactured and was therefore prone to failure under normal driving
13   conditions, potentially causing injuries and/or deaths.
14         237. Tesla failed to exercise ordinary care and breached their duties by, among
15   other things:
16                   a.   Failure to use due care in the manufacture, distribution, design, sale,
17                        testing, and servicing of the subject vehicle and its component parts in
18                        order to avoid the aforementioned risks to individuals;
19                   b.   Failure to provide adequate warning of the sudden acceleration
20                        problem and its propensity to cause and/or contribute to an accident;
21                   c.   Failure to incorporate within the vehicle and its design reasonable
22                        safeguards and protections against sudden acceleration and the
23                        consequences thereof;
24                   d.   Failure to make timely correction to the design of the subject vehicle
25                        to correct the sudden acceleration problems;
26                   e.   Failure to adequately identify and mitigate the hazards associated with
27                        sudden unintended acceleration in accordance with good engineering
28                        practices and other ways; and,

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 1                 f.    Were otherwise careless or negligent.
 2         238. The aforementioned negligent acts and omissions of Tesla were the direct
 3   and proximate cause of Plaintiffs’ damages.
 4         239. Plaintiffs Son and K.M.S. are, therefore, entitled to damages in an amount to
 5   be proven at trial, together with interest thereon and costs.
 6                               TWELFTH CAUSE OF ACTION
 7                                     FAILURE TO WARN
 8                         (By Plaintiffs Son and K.M.S., Individually)
 9         240. Plaintiffs and the Class incorporate by reference each preceding and
10   succeeding paragraph as though fully set forth at length herein.
11         241. Tesla knew that the subject vehicle, and its component parts, would be
12   purchased and used without inspection for defects in the design of the vehicle.
13         242. The subject vehicle was defective when it left the Tesla’s control.
14         243. Tesla knew or should have known of the substantial dangers involved in the
15   reasonably foreseeable use of these vehicles, whose defective design, manufacturing, and
16   lack of sufficient warnings caused them to have an unreasonably dangerous propensity to
17   suffer from sudden unintended acceleration and thereby cause injuries.
18         244. Tesla failed to adequately warn of the substantial dangers known or
19   knowable at the time of the defective vehicles’ design, manufacture, and distribution.
20         245. Tesla failed to provide adequate warnings, instructions, guidelines or
21   admonitions to members of the consuming public, including Plaintiffs Son and K.M.S.,
22   of the defects, which Tesla knew, or in the exercise of reasonable care should have
23   known, to have existed in the subject vehicle, and its component parts.
24         246. Tesla knew that these substantial dangers are not readily recognizable to an
25   ordinary consumer and that consumers would purchase and use these products without
26   inspection.
27         247. At the time of Plaintiffs Son’s and K.M.S.’s injuries, the subject vehicle was
28   being used in the manner intended by Tesla, and in a manner that was reasonably

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 1   foreseeable by Tesla as involving substantial danger that was not readily apparent to its
 2   users.
 3            248. Plaintiffs Son’s and K.M.S.’s damages were the legal and proximate result
 4   of the actions and inactions of Tesla, who owed a duty to Plaintiffs in designing,
 5   manufacturing, warning about, and distributing the subject vehicle.
 6                              THIRTEENTH CAUSE OF ACTION
 7               VIOLATION OF GEORGIA’S UNIFORM DECEPTIVE TRADE
 8                                        PRACTICES ACT
 9                                (Ga. Code Ann. § 10-1-370, et seq.)
10                     (By Plaintiff Shastrula on Behalf of the Georgia Class)
11            249. Plaintiffs and the Class incorporate by reference each preceding and
12   succeeding paragraph as though fully set forth at length herein.
13            250. Plaintiff Shastrula brings this claim on behalf of himself and on behalf of the
14   Members of the Georgia Class.
15            251. The conduct of Tesla as set forth herein constitutes unfair or deceptive acts
16   or practices, including, but not limited to Tesla’s manufacture and sale of vehicles with a
17   sudden acceleration defect that lack other effective fail-safe mechanisms, which Tesla
18   failed to adequately investigate, disclose and remedy, and its misrepresentations and
19   omissions regarding the safety and reliability of its vehicles.
20            252. Tesla’s actions as set forth above occurred in the conduct of trade or
21   commerce.
22            253. Tesla’s actions impact the public interest because Plaintiff Shastrula was
23   injured in exactly the same way as thousands of others purchasing and/or leasing Tesla
24   vehicles as a result of Tesla’s generalized course of deception. All of the wrongful
25   conduct alleged herein occurred, and continues to occur, in the conduct of Tesla’s
26   business.
27            254. Plaintiff Shastrula and the Georgia Class were injured as a result of Tesla’s
28   conduct. Plaintiff Shastrula and the Class Members overpaid for their Defective Vehicles

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 1   and did not receive the benefit of their bargain, and their vehicles have suffered a
 2   diminution in value.
 3         255. Furthermore, Tesla’s failure to acknowledge or correct the defect rendering
 4   the Class Vehicles susceptible to sudden unintended acceleration, or to mitigate against
 5   the consequences of such events. An example of this threat of future harm is provided by
 6   Plaintiff Tomko’s Model S that experienced an incident of sudden unintended
 7   acceleration on October 15, 2016, and then experienced a second incident of sudden
 8   unintended acceleration three months later, on January 20, 2016.
 9         256. Tesla is the sole party with exclusive access to the Tesla vehicles’
10   acceleration controls, which are deeply imbedded into the vehicle’s own proprietary
11   programing. Plaintiff Shastrula and the Georgia Class Members have no way of
12   accessing or any means of changing Tesla’s programing, electronics, or mechanics and
13   preventing future unintended accelerations. This is a problem exclusively in the control
14   of Tesla and only it can resolve this problem.
15         257. Tesla continues to misrepresent and blame Plaintiffs for Tesla’s own safety
16   defects. Plaintiffs will continue to suffer future harm and potentially serious injuries until
17   the alleged defects are eliminated from the Class Vehicles.
18         258. Tesla’s conduct proximately caused the injuries to Plaintiff Shastrula and the
19   Class Members.
20         259. Tesla is liable to Plaintiff Shastrula and the Class Members for damages in
21   amounts to be proven at trial, including attorneys’ fees, costs, and treble damages.
22         260. Pursuant to Georgia Code Annotated section 10-1-370, Plaintiff Shastrula
23   will serve the Georgia Attorney General with a copy of this complaint as Plaintiffs seek
24   injunctive relief.
25   //
26   //
27   //
28   //

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 1                             FOURTEENTH CAUSE OF ACTION
 2                            BREACH OF EXPRESS WARRANTY
 3                                   (Ga. Code Ann. § 11-2-313)
 4                    (By Plaintiff Shastrula on Behalf of the Georgia Class)
 5         261. Plaintiffs and the Class incorporate by reference each preceding and
 6   succeeding paragraph as though fully set forth at length herein.
 7         262. Plaintiff Shastrula brings this claim on behalf of himself and on behalf of the
 8   Members of the Georgia Class.
 9         263. Tesla is and was at all relevant times a merchant with respect to motor
10   vehicles.
11         264. In the course of selling its vehicles, Tesla expressly warranted in writing that
12   the Vehicles were covered by a Basic Warranty.
13         265. Tesla breached the express warranty to repair and adjust to correct defects in
14   materials and workmanship of any part supplied by Tesla. Tesla has not repaired or
15   adjusted, and has been unable to repair or adjust, the Vehicles’ materials and
16   workmanship defects.
17         266. In addition to this Basic Warranty, Tesla expressly warranted several
18   attributes, characteristics and qualities, as set forth above.
19         267. These warranties are only a sampling of the numerous warranties that Tesla
20   made relating to safety, reliability and operation, which are more fully outlined above.
21   Generally these express warranties promise heightened, superior, and state-of-the-art
22   safety, reliability, and performance standards. These warranties were made, inter alia, in
23   advertisements, in Tesla’s “e brochures,” and in uniform statements provided by Tesla to
24   be made by salespeople. These affirmations and promises were part of the basis of the
25   bargain between the parties.
26         268. Plaintiff Shastrula was exposed to Tesla’s marketing statements regarding
27   the safety of the Class Vehicles and the collision avoidance systems with which they
28   were equipped, as alleged in paragraphs 18, 49, and 67-75, herein.

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 1         269. These additional warranties were also breached because the Defective
 2   Vehicles were not fully operational, safe, or reliable, nor did they comply with the
 3   warranties expressly made to purchasers or lessees. Tesla did not provide at the time of
 4   sale, and has not provided since then, vehicles conforming to these express warranties.
 5         270. Furthermore, the limited warranty of repair and/or adjustments to defective
 6   parts, fails in its essential purpose because the contractual remedy is insufficient to make
 7   the Plaintiff Shastrula and the Class whole and because the Tesla has failed and/or has
 8   refused to adequately provide the promised remedies within a reasonable time.
 9         271. Accordingly, recovery by Plaintiff Shastrula and the Class is not limited to
10   the limited warranty of repair or adjustments to parts defective in materials or
11   workmanship, and Plaintiff Shastrula and the Class Members seek all remedies as
12   allowed by law.
13         272. Also, as alleged in more detail herein, at the time that Tesla warranted and
14   sold the vehicles it knew that the vehicles did not conform to the warranties and were
15   inherently defective, and Tesla wrongfully and fraudulently misrepresented and/or
16   concealed material facts regarding its vehicles. Plaintiff Shastrula and the Class were
17   therefore induced to purchase the vehicles under false and/or fraudulent pretenses.
18         273. Moreover, many of the damages flowing from the Defective Vehicles cannot
19   be resolved through the limited remedy of “replacement or adjustments,” as those
20   incidental and consequential damages have already been suffered due to Tesla’s
21   fraudulent conduct as alleged herein, and due to their failure and/or continued failure to
22   provide such limited remedy within a reasonable time, and any limitation on Plaintiff
23   Shastrula’s and the Class’s remedies would be insufficient to make Plaintiff and the Class
24   whole.
25         274. Finally, due to the Tesla’s breach of warranties as set forth herein, Plaintiff
26   Shastrula and the Class assert as an additional and/or alternative remedy, as set forth in
27   Georgia Code Annotated section 11-2-608, for a revocation of acceptance of the goods,
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 1   and for a return to Plaintiff Shastrula and to the Class of the purchase price of all vehicles
 2   currently owned.
 3            275. Tesla was provided notice of these issues by the instant complaint, and by
 4   numerous complaints filed with the NHTSA, as well as individual letters and
 5   communications sent by Plaintiffs and the Class.
 6            276. As a direct and proximate result of Tesla’s breach of express warranties,
 7   Plaintiff Shastrula and the Class have been damaged in an amount to be determined at
 8   trial.
 9                               FIFTEENTH CAUSE OF ACTION
10            BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
11                                    (Ga. Code Ann. § 11-2-314)
12                     (By Plaintiff Shastrula on Behalf of the Georgia Class)
13            277. Plaintiffs and the Class incorporate by reference each preceding and
14   succeeding paragraph as though fully set forth at length herein.
15            278. Plaintiff Shastrula brings this claim on behalf of himself and on behalf of the
16   Members of the Georgia Class.
17            279. Tesla is and was at all relevant times a merchant with respect to motor
18   vehicles.
19            280. A warranty that the Defective Vehicles were in merchantable condition is
20   implied by law in the instant transactions, pursuant to Georgia Code Annotated section
21   11-2-314.
22            281. These vehicles, when sold and at all times thereafter, were not in
23   merchantable condition and are not fit for the ordinary purpose for which cars are used.
24   Specifically, the Defective Vehicles are inherently defective in that there are defects in
25   the vehicle control systems that permit sudden unintended acceleration to occur; the
26   Defective Vehicles do not have an adequate fail-safe to protect against such SUA events;
27   and the accelerator control mechanism and electronics were adequately tested.
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 1          282. Tesla was provided notice of these issues by the instant complaint, and by
 2   numerous complaints filed with the NHTSA, as well as individual letters and
 3   communications sent by Plaintiffs and the Class.
 4          283. Plaintiff Shastrula and the Class have had sufficient dealings with either
 5   Tesla to establish privity of contract between Plaintiffs and the Class. Notwithstanding
 6   this privity is also not required because Plaintiffs’ and Class members’ Tesla vehicles are
 7   dangerous instrumentalities due to the aforementioned defects and nonconformities.
 8          284. As a direct and proximate result of Tesla’s breach of the warranties of
 9   merchantability, Plaintiff Shastrula and the Class have been damaged in an amount to be
10   proven at trial.
11                               SIXTEENTH CAUSE OF ACTION
12                BREACH OF CONTRACT/COMMON LAW WARRANTY
13                      (By Plaintiff Shastrula on Behalf of the Georgia Class)
14          285. Plaintiffs and the Class incorporate by reference each preceding and
15   succeeding paragraph as though fully set forth at length herein.
16          286. Plaintiff Shastrula brings this claim on behalf of himself and on behalf of the
17   Members of the Georgia Class.
18          287. To the extent Tesla’s repair or adjust commitment is deemed not to be a
19   warranty under Georgia’s Commercial Code, Plaintiff Shastrula pleads in the alternative
20   under common law warranty and contract law. Tesla limited the remedies available to
21   Plaintiff Shastrula and the Class to just repairs and adjustments needed to correct defects
22   in materials or workmanship of any part supplied by Tesla, and/or warranted the quality
23   or nature of those services to Plaintiff Shastrula and the Class Members.
24          288. Plaintiff Shastrula was exposed to Tesla’s marketing statements regarding
25   the safety of the Class Vehicles and the collision avoidance systems with which they
26   were equipped, as alleged in paragraphs 18, 49, and 67-75, herein.
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 1           289. Tesla breached this warranty or contract obligation by failing to repair the
 2   Defective Vehicles evidencing a sudden unintended acceleration problem or to replace
 3   them.
 4           290. As a direct and proximate result of Tesla’s breach of contract or common
 5   law warranty, Plaintiff Shastrula and the Georgia Class have been damaged in an amount
 6   to be proven at trial, which shall include, but is not limited to, all compensatory damages,
 7   incidental and consequential damages, and other damages allowed by law.
 8                            SEVENTEENTH CAUSE OF ACTION
 9                     IN THE ALTERNATIVE, UNJUST ENRICHMENT
10                    (By Plaintiff Shastrula on Behalf of the Georgia Class)
11           291. Plaintiffs and the Class incorporate by reference each preceding and
12   succeeding paragraph as though fully set forth at length herein.
13           292. Plaintiff Shastrula brings this claim on behalf of himself and on behalf of the
14   Members of the Georgia Class, in the alternative, in the event that the Court should
15   determine that the alleged contracts and/or express warranties between Plaintiff Shastrula
16   and the Georgia Class Members are unenforceable for any reason.
17           293. Tesla had knowledge of the safety defects in its vehicles, which it failed to
18   disclose to Plaintiff Shastrula and the Class.
19           294. As a result of Tesla’s wrongful and fraudulent acts and omissions, as set
20   forth above, pertaining to the design defect of their vehicles and the concealment of the
21   defect, Tesla charged a higher price for their vehicles than the vehicles’ true value and
22   Tesla obtained monies which rightfully belong to Plaintiff Shastrula and the Georgia
23   Class Members.
24           295. Tesla appreciated, accepted and retained the non-gratuitous benefits
25   conferred by Plaintiff Shastrula and other Class members, who without knowledge of the
26   safety defects paid a higher price for vehicles which actually had lower values. It would
27   be inequitable and unjust for Tesla to retain these wrongfully obtained profits.
28

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 1         296. Plaintiff Shastrula and the Georgia Class Members, therefore, are entitled to
 2   restitution and seek an order establishing Tesla as constructive trustees of the profits
 3   unjustly obtained, plus interest.
 4                            EIGHTEENTH CAUSE OF ACTION
 5         BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
 6                                  (N.C. Gen. Stat. § 25-2-314)
 7                (By Plaintiff Jarrahi on Behalf of the North Carolina Class)
 8         297. Plaintiffs and the Class incorporate by reference each preceding and
 9   succeeding paragraph as though fully set forth at length herein.
10         298. Plaintiff Jarrahi brings this claim on behalf of himself and on behalf of the
11   Members of the North Carolina Class.
12         299. Tesla is and was at all relevant times a merchant with respect to motor
13   vehicles under North Carolina General Statute section 25-2-314.
14         300. A warranty that the Defective Vehicles were in merchantable condition was
15   implied by law in the instant transaction, pursuant to North Carolina General Statute
16   section 25-2-314.
17         301. The Model S and Model X vehicles, when sold and at all times thereafter,
18   were not in merchantable condition and are not fit for the ordinary purpose for which
19   vehicles are used. Specifically, the Defective Vehicles are inherently defective in that
20   there are defects in the vehicle control systems that permit sudden unintended
21   acceleration to occur; the Defective Vehicles do not have an adequate fail-safe to protect
22   against such SUA events; and the accelerator control mechanisms and electronics were
23   not adequately tested.
24         302. Tesla was provided notice of these issues by the instant complaint, and by
25   numerous complaints filed with the NHTSA, as well as individual letters and
26   communications sent by Plaintiffs and the Class.
27
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 1           303. As a direct and proximate result of Tesla’s breach of the warranties of
 2   merchantability, Plaintiff Jarrahi and the Class have been damaged in an amount to be
 3   proven at trial.
 4                             NINETEENTH CAUSE OF ACTION
 5                 BREACH OF CONTRACT/COMMON LAW WARRANTY
 6                                 (Based on North Carolina Law)
 7                 (By Plaintiff Jarrahi on Behalf of the North Carolina Class)
 8           304. Plaintiffs and the Class incorporate by reference each preceding and
 9   succeeding paragraph as though fully set forth at length herein.
10           305. Plaintiff Jarrahi brings this claim on behalf of himself and on behalf of the
11   Members of the North Carolina Class.
12           306. To the extent Tesla’s repair or adjust commitment is deemed not to be a
13   warranty under North Carolina’s Commercial Code, Plaintiff Jarrahi pleads in the
14   alternative under common law warranty and contract law. Tesla limited the remedies
15   available to Plaintiff and the Class to just repairs and adjustments needed to correct
16   defects in materials or workmanship of any part supplied by Tesla, and/or warranted the
17   quality or nature of those services to Plaintiff Jarrah and the Class.
18           307. Plaintiff Jarrahi was exposed to Tesla’s marketing statements regarding the
19   safety of the Class Vehicles and the collision avoidance systems with which they were
20   equipped, as alleged in paragraphs 18, 43, and 67-75, herein.
21           308. Tesla breached this warranty or contract obligation by failing to repair the
22   Defective Vehicles evidencing a sudden unintended acceleration problem or to replace
23   them.
24           309. As a direct and proximate result of Tesla’s breach of contract or common
25   law warranty, Plaintiff Jarrahi and the North Carolina Class have been damaged in an
26   amount to be proven at trial, which shall include, but is not limited to, all compensatory
27   damages, incidental and consequential damages, and other damages allowed by law.
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 1                             TWENTIETH CAUSE OF ACTION
 2                    IN THE ALTERNATIVE, UNJUST ENRICHMENT
 3                                (Based on North Carolina Law)
 4                 (By Plaintiff Jarrahi on Behalf of the North Carolina Class)
 5         310. Plaintiffs and the Class incorporate by reference each preceding and
 6   succeeding paragraph as though fully set forth at length herein.
 7         311. Plaintiff Jarrahi brings this claim on behalf of himself and on behalf of the
 8   Members of the North Carolina Class in the alternative, in the event that the Court should
 9   determine that the alleged contracts and/or express warranties between Plaintiff Jarrahi
10   and the North Carolina Class Members are unenforceable for any reason.
11         312. As a result of its wrongful and fraudulent acts and omissions, as set forth
12   above, pertaining to the design defect of the Model S and Model X vehicles and the
13   concealment of the defect, Tesla charged a higher price for its vehicles than the vehicles’
14   true value and Tesla obtained monies which rightfully belong to Plaintiff Jarrahi and
15   Class Members.
16         313. Tesla knowingly enjoyed the benefit of increased financial gains, to the
17   detriment of Plaintiff Jarrahi and the Class Members, who paid a higher price for vehicles
18   which actually had lower values. It would be inequitable and unjust for Tesla to retain
19   these wrongfully obtained profits.
20         314. Plaintiff Jarrahi and the North Carolina Class Members, therefore, are
21   entitled to restitution and seek an order establishing Tesla as constructive trustees of the
22   profits unjustly obtained, plus interest.
23                           TWENTY-FIRST CAUSE OF ACTION
24             VIOLATION OF OHIO CONSUMER SALES PRACTICES ACT
25                            (Ohio Rev. Code Ann. § 1345.01, et seq.)
26                       (By Plaintiff Tomko on Behalf of the Ohio Class)
27         315. Plaintiffs and the Class incorporate by reference each preceding and
28   succeeding paragraph as though fully set forth at length herein.

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 1         316. Plaintiff Tomko brings this claim on behalf of himself and on behalf of the
 2   Members of the Ohio Class.
 3         317. The Ohio Consumer Protection Act, Ohio Revised Code section 1345.02,
 4   prohibits unfair or deceptive acts or practices in connection with a consumer transaction.
 5   Specifically, the Act prohibits suppliers from representing that goods have characteristics
 6   or uses or benefits which they do not have. The Act also prohibits suppliers from
 7   representing that their goods are of a particular quality or grade they are not.
 8         318. Tesla is a “supplier” as that term is defined in the Ohio Consumer Protection
 9   Act, Ohio Rev. Code § 1345.01(c).
10         319. Plaintiff Tomko is a “consumer” as that term is defined in the Ohio
11   Consumer Protection Act, Ohio Rev. Code § 1345.01(d).
12         320. The conduct of Tesla alleged above constitutes unfair and/or deceptive
13   consumer sales practices because Tesla represented through advertising and other
14   marketing communications that the vehicles were new and free from defects and could be
15   driven safely in normal operation. Instead, the vehicles were not of the standard, quality
16   or grade of new vehicles, but rather, as alleged herein, are demonstratively defective as
17   they are susceptible to sudden unintended acceleration causing serious injury.
18         321. Such conduct constitutes a violation of Ohio statutory and regulatory law
19   and previously has been found by Ohio state courts to be deceptive.
20         322. Section 1345.02 of the Ohio Revised Code provides in pertinent part:
21                (1) That the subject of a consumer transaction has
                  sponsorship, approval, performance characteristics,
22                accessories, uses, or benefits it does not have;
23                (2) That the subject of a consumer transaction is of a
                  particular standard, quality, grade, style, prescription, or
24                model, if it is not;
25                ...
26                (4) That the subject of a consumer transaction is available
                  to the customer for a reason that does not exist;
27
                  ...
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 1                (10) That a consumer transaction involves or does not
                  involve a warrant, a disclaimer of warranties or other
 2                rights, remedies, or obligations if the representation is
                  false.
 3
           323. Section 1345.03 defines certain acts or practices as unconscionable
 4
     including, but not limited to, the following:
 5
                  (1) Whether the supplier has knowingly taken advantage of the
 6                inability of the customer reasonably to protect the consumer’s
                  interests because of the consumer’s . . . inability to understand
 7                the language of an agreement;
 8                ...
 9                (3) Whether the supplier know at the time the consumer
                  transaction was entered into that the price was substantially in
10                excess of the price at which similar property or services were
                  readily obtainable in similar consumer transactions by like
11                consumers; and
12                ...
13                (6) Whether the supplier knowingly made a misleading
                  statement of opinion on which the consumer was likely to rely
14                to the consumer’s detriment.
15
           324. Furthermore, sections 109:4-3-02 and 109:4-3-10 of the Ohio Administrative
16
     Code provide that Tesla’s conduct alleged herein violates the OCSPA:
17
                It is a deceptive act or practice in connection with a consumer
18              transaction for a supplier, in the sale or offering for sale of
                goods or services, to make any offer in written or printed
19              advertising or promotional literature without stating clearly and
                conspicuously in close proximity to the words stating the offer
20              any material exclusions, reservations, limitations,
                modifications, or conditions.
21
     O.A.C. § 109:4-3-02.
22
                  It shall be a deceptive act or practice in connection with a
23                consumer transaction for a supplier to: Make any
                  representations, claims, or assertions of fact, whether orally or
24                in writing, which would cause a reasonable consumer to believe
                  such statements are true, unless, at the time such
25                representations, claims, or assertions are made, the supplier
                  possesses or relies upon a reasonable basis in fact such as
26                factual, objective, quantifiable, clinical or scientific data or
                  other competent and reliable evidence which substantiates such
27                representations, claims, or assertions of fact.
28
     O.A.C. § 109:4-3-10.
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 1         325. Finally, at least as early as 2011, Ohio state courts have held that advertising
 2   or marketing vehicles as new and free from defects and that they can be driven safely in
 3   normal operation when the vehicles are not of the ‘standard, quality, or grade’ they were
 4   represented and/or advertised to be is a violation of the OCSPA. Blankenship v.
 5   CFMOTO Powersports, Inc., 166 Ohio Misc. 2d 21, 32, 961 N.E.2d 750, 758 (Ct.
 6   Common Pleas 2011).
 7         326. Tesla’s conduct caused Plaintiff Tomko’s and the Class Members’ damages
 8   as alleged.
 9         327. Plaintiff Tomko specifically does not allege herein a claim for violation of
10   Ohio Revised Code section 1345.72.
11         328. As a result of the foregoing wrongful conduct of Tesla, Plaintiff Tomko and
12   the Ohio Class Members have been damaged in an amount to be proven at trial,
13   including, but not limited to, actual and statutory damages, treble damages, court costs
14   and reasonable attorney’s fees, pursuant to Ohio Revised Code section 1345.09, et seq.
15                         TWENTY-SECOND CAUSE OF ACTION
16                           BREACH OF EXPRESS WARRANTY
17                 (Ohio Rev. Code Ann. § 1302.26, et seq. (U.C.C. § 2-313))
18                      (By Plaintiff Tomko on Behalf of the Ohio Class)
19         329. Plaintiffs and the Class incorporate by reference each preceding and
20   succeeding paragraph as though fully set forth at length herein.
21         330. Plaintiff Tomko brings this claim on behalf of himself and on behalf of the
22   Members of the Ohio Class.
23         331. Tesla expressly warranted – through statements and advertisements
24   described above – that its vehicles were of high quality, and, at a minimum, would
25   actually work properly and safely.
26         332. Plaintiff Tomko was exposed to Tesla’s marketing statements regarding the
27   safety of the Class Vehicles and the collision avoidance systems with which they were
28   equipped, as alleged in paragraphs 18, 46, and 67-75, herein.

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 1         333. Tesla breached this warranty by knowingly selling to Plaintiff Tomko and
 2   the Ohio Class Members vehicles with dangerous defects, and which were not of high
 3   quality.
 4         334. Plaintiff Tomko and the Ohio Class Members have been damaged as a direct
 5   and proximate result of the breaches by Tesla in that the Defective Vehicles purchased or
 6   leased by Plaintiff Tomko and the Ohio Class Members were and are worth far less than
 7   what Plaintiff Tomko and the Ohio Class Members paid to purchase, which was
 8   reasonably foreseeable to Tesla.
 9                          TWENTY-THIRD CAUSE OF ACTION
10       OHIO BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY -
11                                      STRICT LIABILITY
12                      (Ohio Rev. Code Ann. § 1302.27 (U.C.C. § 2-314))
13                      (By Plaintiff Tomko on Behalf of the Ohio Class)
14         335. Plaintiffs and the Class incorporate by reference each preceding and
15   succeeding paragraph as though fully set forth at length herein.
16         336. Plaintiff Tomko brings this claim on behalf of himself and on behalf of the
17   Members of the Ohio Class.
18         337. Tesla impliedly warranted that its vehicles were of good and merchantable
19   quality and fit, and safe for their ordinary intended use – transporting the driver and
20   passengers in reasonable safety during normal operation, and without unduly endangering
21   them or members of the public.
22         338. As described above, there were dangerous defects in the vehicles
23   manufactured, distributed, and/or sold by Tesla, which Plaintiff Tomko and the Ohio
24   Class Members purchased or leased, including, but not limited to, defects that caused the
25   vehicles to suddenly and unintentionally accelerate, and the lack of safety systems which
26   would prevent such acceleration.
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 1         339. These dangerous defects existed at the time the vehicles left Tesla’s
 2   manufacturing facilities and at the time they were sold or leased to Plaintiff Tomko and
 3   the Ohio Class Members.
 4         340. These dangerous defects were the direct and proximate cause of damages to
 5   Plaintiff Tomko and the Ohio Class Members.
 6                          TWENTY-FOURTH CAUSE OF ACTION
 7          OHIO NEGLIGENT DESIGN, ENGINEERING & MANUFACTURE
 8                                       (Based on Ohio Law)
 9                       (By Plaintiff Tomko on Behalf of the Ohio Class)
10         341. Plaintiffs and the Class incorporate by reference each preceding and
11   succeeding paragraph as though fully set forth at length herein.
12         342. Plaintiff Tomko brings this claim on behalf of himself and on behalf of the
13   Members of the Ohio Class.
14         343. Tesla is a manufacturer and supplier of automobiles. Tesla owed Plaintiff
15   Tomko and the Ohio Class Members a non-delegable duty to exercise ordinary and
16   reasonable care to properly design, engineer, and manufacture the vehicles against
17   foreseeable hazards and malfunctions including uncontrollable acceleration.
18         344. Tesla owed Plaintiff Tomko and the Ohio Class Members a non-delegable
19   duty to exercise ordinary and reasonable care in designing, engineering, and
20   manufacturing the vehicles so that they would function normally, including that they
21   would not accelerate out of control.
22         345. Tesla also owed – and owes – a continuing duty to notify Plaintiff Tomko
23   and the Ohio Class Members of the problem at issue and to repair the dangerous defects.
24         346. Tesla breached these duties of reasonable care by designing, engineering,
25   and manufacturing vehicles that accelerated out of control, and breached its continuing
26   duty to notify Plaintiffs of these defects.
27         347. The foreseeable hazards and malfunctions include, but are not limited to, the
28   sudden and unanticipated and uncontrollable acceleration of these vehicles.

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 1         348. Plaintiff Tomko and the Ohio Class Members did not and could not know of
 2   the intricacies of these defects and their latent and dangerous manifestations, or the
 3   likelihood of harm therefrom arising in the normal use of their vehicles.
 4         349. At all relevant times, there existed alternative designs and engineering which
 5   were both technically and economically feasible. Further, any alleged benefits associated
 6   with the defective designs are vastly outweighed by the real risks associated with sudden
 7   and uncontrollable acceleration.
 8         350. The vehicles were defective as herein alleged at the time they left Tesla’s
 9   factory, and the vehicles reached Plaintiff Tomko and the Ohio Class Members without
10   substantial change in the condition in which they were sold.
11         351. As a direct and proximate result of Tesla’s breaches, Plaintiff Tomko and the
12   Ohio Class Members have suffered damages.
13         352. Accordingly, Plaintiff Tomko and the Ohio Class Members s are entitled to
14   recover appropriate damages including, but not limited to, diminution of value, return of
15   lease payments and penalties, and injunctive relief related to future lease payments or
16   penalties.
17                           TWENTY-FIFTH CAUSE OF ACTION
18                    IN THE ALTERNATIVE, UNJUST ENRICHMENT
19                                      (Based on Ohio Law)
20                      (By Plaintiff Tomko on Behalf of the Ohio Class)
21         353. Plaintiffs and the Class incorporate by reference each preceding and
22   succeeding paragraph as though fully set forth at length herein.
23         354. Plaintiff Tomko brings this claim on behalf of himself and on behalf of the
24   Members of the Ohio Class, in the alternative, in the event that the Court should
25   determine that the alleged contracts and/or express warranties between Plaintiff Tomko
26   and the Ohio Class Members are unenforceable for any reason.
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 1         355. Plaintiff Tomko and the Ohio Class Members paid Tesla the value of
 2   vehicles that are non-defective, and in exchange, Tesla provided Plaintiff Tomko and the
 3   Ohio Class Members vehicles that are, in fact, defective.
 4         356. Further, Plaintiff Tomko and the Ohio Class Members paid Tesla the value
 5   for vehicles that would not be compromised by substantial, invasive repairs, and in return
 6   received vehicles that require such repairs.
 7         357. Further, Plaintiff Tomko and the Ohio Class Members paid Tesla for
 8   vehicles they could operate, and in exchange, Tesla provided Plaintiff Tomko and the
 9   Ohio Class Members vehicles that could not be normally operated because their defects
10   posed the possibility of life-threatening injuries or death.
11         358. As such, Plaintiff Tomko and the Ohio Class Members conferred a windfall
12   upon Tesla, which knows of the windfall and has retained such benefits, which would be
13   unjust for Tesla to retain.
14         359. As a direct and proximate result of Tesla’s unjust enrichment, Plaintiff
15   Tomko and the Ohio Class Members have suffered and continue to suffer various
16   damages, including, but not limited to, restitution of all amounts by which Tesla was
17   enriched through its misconduct.
18                           TWENTY-SIXTH CAUSE OF ACTION
19               VIOLATION OF NEW JERSEY CONSUMER FRAUD ACT
20                                 (N.J. Stat. Ann. § 56:8-1, et seq.)
21                   (By Plaintiff Helman on Behalf of the New Jersey Class)
22         360. Plaintiffs and the Class incorporate by reference each preceding and
23   succeeding paragraph as though fully set forth at length herein.
24         361. Plaintiff Helman brings this claim on behalf of himself and on behalf of the
25   Members of the New Jersey Class, in the alternative, in the event that the Court should
26   determine that the alleged contracts and/or express warranties between Plaintiff Helman
27   and the New Jersey Class Members are unenforceable for any reason.
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 1            362. Plaintiff Helman, who has suffered injury in fact and has lost money or
 2    property as a result of Tesla’s violations of New Jersey’s Consumer Fraud Act
 3    (“NJCFA”), allege this cause of action as a class action.
 4            363. Tesla is a person within the meaning of the NJCFA. N.J. Stat. Ann. § 56:8-
 5    1(d).
 6            364. The NJCFA protects consumers from “any unconscionable commercial
 7    practice, deception, fraud, false pretense, false promise, misrepresentation, or the
 8    knowing, concealment, suppression, or omission, in connection with the sale or
 9    advertisement of any merchandise or real estate, or with the subsequent performance of
10    such person as aforesaid, whether or not any person has in fact been misled, deceived or
11    damaged thereby . . . .” N.J. Stat. Ann. § 56:8-2.
12            365. Plaintiff Helman and Class Members are consumers who purchased and/or
13    leased Class Vehicles for personal, family or household use.
14            366. Tesla engaged in unlawful conduct by deliberately and knowingly engaging
15    in misrepresentations and false statements regarding the Class Vehicles, in the course of
16    Tesla’s business. Specifically, Tesla knew or should have known at the time of
17    manufacture and sale of the Class Vehicles that the Class Vehicles suffered from a
18    sudden acceleration defect and lacked effective fail-safe mechanisms, however, Tesla
19    failed to adequately investigate and disclose this defect to Plaintiff Helman and the New
20    Jersey Class Members at the time of purchase and/or lease, or to remedy such defect or
21    correct its misrepresentations and omissions regarding the safety and reliability of its
22    vehicles.
23            367. Tesla has also engaged in unlawful conduct by willfully and knowingly
24    suppressing and/or omitting information related to the Class Vehicles to consumers.
25    Specifically, Tesla purposefully and knowingly failed to disclose such defects in the
26    Class Vehicles to consumers such as Plaintiff Helman and the New Jersey Class
27    Members, in order to secure the sale and/or lease of the Class Vehicles at a premium
28    price. Tesla also failed to disclose such defects during the limited warranty period to

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 1    avoid having to perform their contractual duties under the warranty to repair all known
 2    defects.
 3          368. Tesla did not fully and truthfully disclose to its customers the true nature of
 4    the defects in the Class Vehicles, said defects not being readily discoverable at the time
 5    of purchase or lease.
 6          369. Tesla intended that Plaintiff Helman and the New Jersey Class Members rely
 7    on its misrepresentation and/or acts of concealment and omission, so that they would
 8    purchase and/or lease the Class Vehicles.
 9          370. Accordingly, Tesla has engaged in unfair and deceptive trade practices,
10    including representing that the Class Vehicles have characteristics, uses, benefits, and
11    qualities which they do not have; representing that the Class Vehicles are of a particular
12    standard and quality when they are not; advertising Class Vehicles with the intent to not
13    sell them as advertised; and otherwise engaging in conduct likely to deceive. Further,
14    Tesla’s acts and practices described herein offend established public policy because of
15    the harm they cause to consumers, motorists, and pedestrians outweighs any benefit
16    associated with such practices, and because Tesla fraudulently concealed the defective
17    nature of the Class Vehicles from consumers.
18          371. Tesla’s actions as set forth above occurred in the conduct of trade or
19    commerce.
20          372. By engaging in the above-described practice and the actions and omissions
21    herein alleged, Tesla has committed one or more unlawful acts in violation of the
22    NJCFA.
23          373. Tesla’s conduct caused Plaintiff Helman and the New Jersey Class Members
24    to suffer an ascertainable loss. In addition to direct monetary losses, Plaintiff Helman
25    and the New Jersey Class Members have suffered an ascertainable loss in that they
26    received less than what was promised to them by Tesla at the time they purchased and/or
27    leased the subject Class Vehicles. Therefore, Plaintiff Helman and the New Jersey Class
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 1    Members are entitled to recover such damages, together with appropriate penalties,
 2    including treble damages, attorneys’ fees and costs of suit.
 3           374. A causal relationship exists between Tesla’s unlawful conduct and the
 4    ascertainable losses suffered by Plaintiff Helman and the New Jersey Class Members.
 5    Had the defects in the Class Vehicles been disclosed, Plaintiff Helman and the New
 6    Jersey Class Members would not have purchased them or would have paid less for the
 7    Class vehicles had they decided to purchase them.
 8           375. Plaintiff Helman and the New Jersey Class Members have suffered an
 9    ascertainable loss of monies and pursuant to NJ Stat. § 56:8-19 are entitled to threefold
10    damages.
11           376. Unless Tesla is enjoined from continuing to engage in this business practice,
12    Plaintiff Helman and the Class Members will continue to be injured by Tesla’s wrongful
13    actions and conduct. Therefore, Plaintiff Helman and the New Jersey Class Members are
14    entitled to injunctive relief.
15           377. Plaintiffs are entitled to recover legal and/or equitable relief, treble damages,
16    and reasonable attorneys’ fees pursuant to N.J. Stat. Ann. § 56:8-19.
17                           TWENTY-SEVENTH CAUSE OF ACTION
18                              BREACH OF EXPRESS WARRANTY
19                                     (N.J. Stat. Ann. § 12A:2-313)
20                    (By Plaintiff Helman on Behalf of the New Jersey Class)
21           378. Plaintiffs and the Class incorporate by reference each preceding and
22    succeeding paragraph as though fully set forth at length herein.
23           379. Plaintiff Helman brings this claim on behalf of himself and on behalf of the
24    Members of the New Jersey Class.
25           380. Tesla and was at all relevant times a merchant with respect to motor
26    vehicles.
27           381. In the course of selling its vehicles, Tesla expressly warranted in writing that
28    the Vehicles were covered by a Basic Warranty.

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 1          382. Plaintiff Helman was exposed to Tesla’s marketing statements regarding the
 2    safety of the Class Vehicles and the collision avoidance systems with which they were
 3    equipped, as alleged in paragraphs 18, 52, and 67-75, herein.
 4          383. Tesla breached the express warranty to repair and adjust to correct defects in
 5    materials and workmanship of any part supplied by Tesla.
 6          384. In addition to this Basic Warranty, Tesla also expressly warranted - through
 7    statements and advertisements described above - that its vehicles were of high quality,
 8    and, at a minimum, would actually work properly and safely. Tesla has not repaired or
 9    adjusted, and has been unable to repair or adjust, the Class Vehicles' materials and
10    workmanship defects.
11          385. Tesla breached this warranty by knowingly selling to Plaintiff Helman and
12    the New Jersey Class Members vehicles with dangerous defects, and which were not of
13    high quality.
14          386. Plaintiff Helman and the New Jersey Class Members have been damaged as
15    a direct and proximate result of the breaches by Tesla in that the Class Vehicles
16    purchased or leased by Plaintiff Helman and the New Jersey Class Members were and are
17    worth far less than what Plaintiff Helman and the New Jersey Class Members paid to
18    purchase, which was reasonably foreseeable to Tesla.
19          387. Generally, these express warranties promise heightened, superior, and state-
20    of-the-art safety, reliability, and performance standards. These warranties were made,
21    inter alia, in advertisements, in Tesla’s “e brochures,” and in uniform statements
22    provided by Tesla to be made by salespeople. These affirmations and promises were part
23    of the basis of the bargain between the parties.
24          388. Furthermore, the limited warranty of repair and/or adjustments to defective
25    parts, fails in its essential purpose because the contractual remedy is insufficient to make
26    the Plaintiff Helman and the New Jersey Class Members whole and because the Tesla has
27    failed and/or has refused to adequately provide the promised remedies within a
28    reasonable time.

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 1          389. Accordingly, recovery by Plaintiff Helman and the New Jersey Class
 2    Members is not limited to the limited warranty of repair or adjustments to parts defective
 3    in materials or workmanship, and Plaintiff Helman and the New Jersey Class Members
 4    seek all remedies as allowed by law.
 5          390. Moreover, many of the damages flowing from the Class Vehicles cannot be
 6    resolved through the limited remedy of “replacement or adjustments,” as those incidental
 7    and consequential damages have already been suffered as a result of Tesla’s failure
 8    and/or continued failure to provide such limited remedy within a reasonable time.
 9          391. Finally, as a result of Tesla’s breach of warranties as set forth herein,
10    Plaintiff Helman and the New Jersey Class Members assert as an additional and/or
11    alternative remedy, as set for in N.J. Stat. Ann. § 12A:2-608, for revocation of acceptance
12    of the goods, and for a return to Plaintiff Helman and to the New Jersey Class Members
13    of the purchase price of all vehicles currently owned.
14          392. Tesla was provided notice of these issues by numerous complaints filed
15    against it, including the instant complaint, before or within a reasonable amount of time
16    after the allegations of vehicle defects became public.
17          393. As a direct and proximate result of Tesla’s breach of express warranties,
18    Plaintiff Helman and the New Jersey Class Members have been damaged in an amounted
19    to be determined at trial.
20                           TWENTY-EIGHTH CAUSE OF ACTION
21          BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
22                                  (N.J. Stat. Ann. § 12A:2-314)
23                    (By Plaintiff Helman on Behalf of the New Jersey Class)
24          394. Plaintiffs and the Class incorporate by reference each preceding and
25    succeeding paragraph as though fully set forth at length herein.
26          395. Plaintiff Helman brings this claim on behalf of himself and on behalf of the
27    Members of the New Jersey Class.
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 1          396. Tesla is and was at all relevant times a merchant with respect to motor
 2    vehicles.
 3          397. A warranty that the Class Vehicles were in merchantable condition is
 4    implied by law in the instant transactions.
 5          398. These vehicles, when sold and at all times thereafter, were not in
 6    merchantable condition and are not fit for the ordinary purpose for which cars are used.
 7    Specifically, the Class Vehicles are inherently defective in that there are dangerous
 8    defects in the vehicles manufactured, distributed, and/or sold by Tesla, which Plaintiff
 9    Helman and the New Jersey Class Members purchased or leased, including, but not
10    limited to, defects that caused the vehicles to suddenly and unintentionally accelerate, and
11    the lack of safety systems which would prevent such acceleration.
12          399. These dangerous defects existed at the time the vehicles left Tesla’s
13    manufacturing facilities and at the time they were sold or leased to Plaintiff Helman and
14    the New Jersey Class Members.
15          400. Tesla was provided notice of these issues by numerous complaints filed
16    against it, including the instant complaint, and by numerous individual letters and
17    communications sent by Plaintiffs and the Class Members before or within a reasonable
18    amount of time after the allegations of vehicle defects became public.
19          401. Plaintiff Helman and the New Jersey Class Members have had sufficient
20    dealings with the Tesla or its agents to establish privity of contract between Plaintiff
21    Helman and the New Jersey Class Members. Notwithstanding, privity is not required in
22    this case because the Class Vehicles are dangerous instrumentalities as a result of the
23    aforementioned defects and nonconformities.
24    //
25    //
26    //
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 1          402. As a direct and proximate result of Tesla’s breach of the warranties of
 2    merchantability, Plaintiff Helman and the New Jersey Class Members have been
 3    damaged in an amount to be proven at trial.
 4                            TWENTY-NINTH CAUSE OF ACTION
 5                BREACH OF CONTRACT/COMMON LAW WARRANTY
 6                                   (Based on New Jersey Law)
 7                   (By Plaintiff Helman on Behalf of the New Jersey Class)
 8          403. Plaintiffs and the Class incorporate by reference each preceding and
 9    succeeding paragraph as though fully set forth at length herein.
10          404. Plaintiff Helman brings this claim on behalf of himself and on behalf of the
11    Members of the New Jersey Class.
12          405. To the extent Tesla’s repair or adjust commitment is deemed not to be a
13    warranty under New Jersey’s Commercial Code, Plaintiff Helman pleads in the
14    alternative under common law contract law. Tesla limited the remedies available to
15    Plaintiff Helman and the New Jersey Class Members to just repairs and adjustments
16    needed to correct defects in materials or workmanship of any part supplied by Tesla,
17    and/or warranted the quality or nature of those services to Plaintiff Helman and the New
18    Jersey Class Members.
19          406. Plaintiff Helman was exposed to Tesla’s marketing statements regarding the
20    safety of the Class Vehicles and the collision avoidance systems with which they were
21    equipped, as alleged in paragraphs 18, 52, and 67-75, herein.
22          407. Tesla breached this contract obligation by failing to repair the Class Vehicles
23    evidencing a sudden unintended acceleration problem, or to replace them.
24          408. As a direct and proximate result of Tesla’s breach of contract, Plaintiff
25    Helman and the New Jersey Class Members have been damaged in an amount to be
26    proven at trial, which shall include, but is not limited to, all compensatory damages,
27    incidental and consequential damages, and other damages allowed by law.
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 1                               THIRTIETH CAUSE OF ACTION
 2                       IN THE ALTERNATIVE, UNJUST ENRICHMENT
 3                                   (Based on New Jersey Law)
 4                   (By Plaintiff Helman on Behalf of the New Jersey Class)
 5         409.    Plaintiffs and the Class incorporate by reference each preceding and
 6    succeeding paragraph as though fully set forth at length herein.
 7         410.    Plaintiff Helman brings this claim on behalf of himself and on behalf of the
 8    Members of the New Jersey Class, in the alternative, in the event that the Court should
 9    determine that the alleged contracts and/or express warranties between Plaintiff Helman
10    and the New Jersey Class Members are unenforceable for any reason.
11         411.    Tesla had knowledge of the safety defects in the Class Vehicles, which it
12    failed to disclose to Plaintiff Helman and the New Jersey Class Members.
13         412.    As a result of its wrongful and fraudulent acts and omissions, as set forth
14    above, pertaining to the defects in the Class Vehicles and the concealment of such
15    defects, Tesla charged a higher price for its vehicles than the vehicles’ true value. Tesla
16    accordingly received a benefit from Plaintiff Helman and the New Jersey Class Members
17    their detriment.
18         413.    Toyota appreciated, accepted and retained the benefits conferred by Plaintiff
19    Helman and the New Jersey Class Members, who without knowledge of the safety
20    defects paid a higher price for vehicles which actually had lower values. It would be
21    inequitable and unjust for Tesla to retain these wrongfully obtained profits.
22         414.    Plaintiff Helman and the New Jersey Class Members, therefore, are entitled
23    to restitution and seek an order establishing Tesla as constructive trustees of the profits
24    unjustly obtained, plus interest.
25    //
26    //
27    //
28    //

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 1                             THIRTY-FIRST CAUSE OF ACTION
 2     VIOLATION OF FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
 3                                                 ACT
 4                                  (Fla. Stat. § 501.203(7), et seq.)
 5                    (By Plaintiff Waldemar on Behalf of the Florida Class)
 6          415. Plaintiffs and the Class incorporate by reference each preceding and
 7    succeeding paragraph as though fully set forth at length herein.
 8          416. Plaintiff Waldemar brings this cause of action on behalf of herself and on
 9    behalf of the members of the Florida Class.
10          417. The Florida Class consists of “consumers” within the meaning of the Florida
11    Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.203(7).
12          418. Tesla engaged in “trade or commerce” within the meaning of Fla. Stat. §
13    501.203(8).
14          419. The purpose of the FDUTPA is “to protect the consuming public and
15    legitimate business enterprises from those who engage in unfair methods of competition,
16    or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or
17    commerce.” Fla. Stat. § 501.202 (2).
18          420. Tesla has engaged in unfair competition and unfair, unlawful or fraudulent
19    business practices by the practices described above, and by knowingly and intentionally
20    concealing from Plaintiff Waldemar and Florida Class members the fact that the Class
21    Vehicles suffer from a manufacturing and design defect (and the costs, risks, and
22    diminished value of the Class Vehicles as a result of this problem), which was not readily
23    discoverable at the time of purchase. Tesla should have disclosed this information
24    because it was in a superior position to know the true facts related to this defect, and
25    Plaintiff Waldemar and the Florida Class members could not reasonably be expected to
26    learn or discover the true facts related to this defect until after manifestation of the defect.
27          421. Tesla concealed, omitted, and failed to disclose the latent defect in the Class
28    Vehicles.

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 1          422. Tesla knew or should have known of the defect at the time of sale.
 2          423. Tesla owed Plaintiff Waldemar and the Florida Class Members a duty to
 3    disclose the dangers and defective nature of the Class Vehicles.
 4          424. Tesla knew or should have known that its conduct violated the FDUTPA.
 5          425. Tesla owed Plaintiff and the Florida Class a duty to disclose the dangers and
 6    defective nature of the Class Vehicles.
 7          426. Tesla’s unfair or deceptive acts or practices were likely to deceive
 8    reasonable consumers, including Plaintiff Waldemar and the Florida Class, about the true
 9    safety and reliability of the Class Vehicles.
10          427. As a result of Tesla’s unfair, false, misleading, or deceptive acts or practices
11    alleged herein, Plaintiff Waldemar and the Florida Class have suffered an ascertainable
12    loss of money or property in an amount to be determined at trial. This includes the costs
13    to repair their vehicle, any other damage caused to the Class Vehicles, and any other
14    compensatory or consequential damages allowed by law.
15          428. As a direct and proximate result of Ford’s violations of the FDUTPA,
16    Plaintiff Waldemar and the Florida Class have suffered injury-in-fact and/or actual
17    damage.
18          429. Plaintiff Waldemar and the Florida Class are entitled to recover their actual
19    damages under Fla. Stat. § 501.211(2) and attorneys’ fees under Fla. Stat. § 501.2105(1).
20          430. Plaintiff Waldemar and the Florida Class Members also seek an order
21    enjoining Tesla’s unfair, unlawful, and/or deceptive practices, declaratory relief,
22    attorneys’ fees, and any other just and proper relief available under the FDUTPA.
23          431. Pursuant to Fla. Stat. § 501.201, Plaintiffs will serve the Florida Attorney
24    General with a copy of this complaint as Plaintiffs seek injunctive relief.
25    //
26    //
27    //
28    //

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 1                           THIRTY-SECOND CAUSE OF ACTION
 2                            BREACH OF EXPRESS WARRANTY
 3                                      (Fla. Stat. § 672.313)
 4                    (By Plaintiff Waldemar on Behalf of the Florida Class)
 5          432. Plaintiffs and the Class incorporate by reference each preceding and
 6    succeeding paragraph as though fully set forth at length herein.
 7          433. Plaintiff Waldemar brings this claim on behalf of herself and on behalf of
 8    the Members of the Florida Class.
 9          434. Tesla and was at all relevant times a merchant with respect to motor
10    vehicles.
11          435. In the course of selling its vehicles, Tesla expressly warranted in writing that
12    the Vehicles were covered by a Basic Warranty.
13          436. Tesla breached the express warranty to repair and adjust to correct defects in
14    materials and workmanship of any part supplied by Tesla.
15          437. In addition to this Basic Warranty, Tesla also expressly warranted - through
16    statements and advertisements described above - that its vehicles were of high quality,
17    and, at a minimum, would actually work properly and safely. Tesla has not repaired or
18    adjusted, and has been unable to repair or adjust, the Class Vehicles’ materials and
19    workmanship defects.
20          438. Plaintiff Waldemar was exposed to Tesla’s marketing statements regarding
21    the safety of the Class Vehicles and the collision avoidance systems with which they
22    were equipped, as alleged in paragraphs 18, 55, and 67-75, herein.
23          439. Tesla breached this warranty by knowingly selling to Plaintiff Waldemar
24    and the Florida Class Members vehicles with dangerous defects, and which were not of
25    high quality.
26          440. Plaintiff Waldemar and the Florida Class Members have been damaged as a
27    direct and proximate result of the breaches by Tesla in that the Defective Vehicles
28    purchased or leased by Plaintiff Waldemar and the Florida Class Members were and are

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 1    worth far less than what Plaintiff Waldemar and the Florida Class Members paid to
 2    purchase, which was reasonably foreseeable to Tesla.
 3          441. Generally these express warranties promise heightened, superior, and state-
 4    of-the-art safety, reliability, and performance standards. These warranties were made,
 5    inter alia, in advertisements, in Tesla’s “e brochures,” and in uniform statements
 6    provided by Tesla to be made by salespeople. These affirmations and promises were part
 7    of the basis of the bargain between the parties.
 8          442. Furthermore, the limited warranty of repair and/or adjustments to defective
 9    parts, fails in its essential purpose because the contractual remedy is insufficient to make
10    the Plaintiffs and the Class whole and because Tesla has failed and/or has refused to
11    adequately provide the promised remedies within a reasonable time.
12          443. Accordingly, recovery by the Plaintiffs is not limited to the limited warranty
13    of repair or adjustments to parts defective in materials or workmanship, and Plaintiffs
14    seek all remedies as allowed by law.
15          444. Finally, as a result of Tesla’s breach of warranties as set forth herein,
16    Plaintiff Waldemar and the Florida Class Members assert as an additional and/or
17    alternative remedy, as set forth in Fla. Stat. § 672-608, for a revocation of acceptance of
18    the goods, and for a return to Plaintiff Waldemar and to the Florida Class Members of the
19    purchase price of all vehicles currently owned.
20          445. Tesla was provided notice of these issues by numerous complaints filed
21    against it, including the instant complaint, and by numerous individual letters and
22    communications sent by Plaintiff Waldemar and the Florida Class Members before or
23    within a reasonable amount of time after the allegations of vehicle defects became public.
24          446. As a direct and proximate result of Tesla’s breach of express warranties,
25    Plaintiffs and the Class have been damaged in an amount to be determined at trial.
26    //
27    //
28    //

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 1                            THIRTY-THIRD CAUSE OF ACTION
 2          BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
 3                                       (Fla. Stat. § 672.314)
 4                    (By Plaintiff Waldemar on Behalf of the Florida Class)
 5          447. Plaintiffs and the Class incorporate by reference each preceding and
 6    succeeding paragraph as though fully set forth at length herein.
 7          448. Plaintiff Waldemar brings this cause of action on behalf of herself and on
 8    behalf of the members of the Florida Class.
 9          449. Tesla is and was at all relevant times a merchant with respect to motor
10    vehicles.
11          450. A warranty that the Class Vehicles were in merchantable condition is
12    implied by law in the instant transactions, pursuant to Fla. Stat. § 672.316.
13          451. These vehicles, when sold and at all times thereafter, were not in
14    merchantable condition and are not fit for the ordinary purpose for which cars are used.
15    Specifically, the Class Vehicles are inherently defective in that there are dangerous
16    defects in the vehicles manufactured, distributed, and/or sold by Tesla, which Plaintiff
17    Waldemar and the Florida Class Members purchased or leased, including, but not limited
18    to, defects that caused the vehicles to suddenly and unintentionally accelerate, and the
19    lack of safety systems which would prevent such acceleration.
20          452. These dangerous defects existed at the time the vehicles left Tesla’s
21    manufacturing facilities and at the time they were sold or leased to Plaintiff Waldemar
22    and the Florida Class Members.
23          453. Tesla was provided notice of these issues by numerous complaints filed
24    against it, including the instant complaint, and by numerous individual letters and
25    communications sent by Plaintiffs and the Class Members before or within a reasonable
26    amount of time after the allegations of vehicle defects became public.
27          454. Plaintiff Waldemar and the Florida Class Members have had sufficient
28    dealings with the Tesla or its agents to establish privity of contract between Plaintiff

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 1    Waldemar and the Florida Class Members. Notwithstanding this, privity is not required in
 2    this case because the Class Vehicles are dangerous instrumentalities as a result of the
 3    aforementioned defects and nonconformities.
 4          455. As a direct and proximate result of Tesla’s breach of the warranties of
 5    merchantability, Plaintiff Waldemar and the Florida Class Members have been damaged
 6    in an amount to be proven at trial.
 7                           THIRTY-FOURTH CAUSE OF ACTION
 8                 BREACH OF CONTRACT/COMMON LAW WARRANTY
 9                                      (Based on Florida Law)
10                    (By Plaintiff Waldemar on Behalf of the Florida Class)
11          456. Plaintiffs and the Class incorporate by reference each preceding and
12    succeeding paragraph as though fully set forth at length herein.
13          457. Plaintiff Waldemar brings this cause of action on behalf of herself and on
14    behalf of the members of the Florida Class.
15          458. To the extent Tesla’s repair or adjust commitment is deemed not to be a
16    warranty under Florida’s Commercial Code, Plaintiff Waldemar pleads in the alternative
17    under common law warranty and contract law. Tesla limited the remedies available to
18    Plaintiffs and the Class to just repairs and adjustments needed to correct defects in
19    materials or workmanship of any part supplied by Tesla, and/or warranted the quality or
20    nature of those services to Plaintiff Waldemar and the Florida Class Members.
21          459. Plaintiff Waldemar was exposed to Tesla’s marketing statements regarding
22    the safety of the Class Vehicles and the collision avoidance systems with which they
23    were equipped, as alleged in paragraphs 18, 55, and 67-75, herein.
24          460. Tesla breached this warranty or contract obligation by failing to repair the
25    Class Vehicles evidencing a sudden unintended acceleration problem or to replace them.
26          461. As a direct and proximate result of Tesla’s breach of contract or common
27    law warranty, Plaintiff Waldemar and the Florida Class Members have been damaged in
28    an amount to be proven at trial, which shall include, but is not limited to, all

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 1    compensatory damages, incidental and consequential damages, and other damages
 2    allowed by law.
 3                             THIRTY-FIFTH CAUSE OF ACTION
 4                      IN THE ALTERNATIVE, UNJUST ENRICHMENT
 5                                        (Based on Florida Law)
 6                    (By Plaintiff Waldemar on Behalf of the Florida Class)
 7           462. Plaintiffs and the Class incorporate by reference each preceding and
 8    succeeding paragraph as though fully set forth at length herein.
 9           463. Plaintiff Waldemar brings this claim on behalf of herself and on behalf of
10    the Members of the Florida Class, in the alternative, in the event that the Court should
11    determine that the alleged contracts and/or express warranties between Plaintiff
12    Waldemar and the Florida Class Members are unenforceable for any reason.
13           464. Tesla had knowledge of the safety defects in its vehicles, which it failed to
14    disclose to Plaintiff Waldemar and the Florida Class Members.
15           465. As a result of Tesla’s wrongful and fraudulent acts and omissions, as set
16    forth above, pertaining to the design defect of their vehicles and the concealment of the
17    defect, Tesla charged a higher price for their vehicles than the vehicles’ true value and
18    Tesla obtained monies which rightfully belong to Plaintiff Waldemar and the Florida
19    Class Members.
20           466. Tesla appreciated, accepted and retained the non-gratuitous benefits
21    conferred by Plaintiff Waldemar and other Florida Class Members, who without
22    knowledge of the safety defects paid a higher price for vehicles which actually had lower
23    values. It would be inequitable and unjust for Tesla to retain these wrongfully obtained
24    profits.
25           467. Plaintiff Waldemar and the Florida Class Members, therefore, are entitled to
26    restitution and seek an order establishing Tesla as constructive trustees of the profits
27    unjustly obtained, plus interest.
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 1                                      PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiffs Ji Chang Son, Ghodrat Khansari, Madhusudhana
 3    Shastrula, Ali Jarrahi, Michael Tomko, Kenneth Helman, and Bridgette Waldemar,
 4    individually and on behalf of all Class Members, and K.M.S., on behalf of himself, and
 5    Plaintiff K.M.S. respectfully request that this Court:
 6          A. determine that the claims alleged herein may be maintained as a class action
 7              under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
 8              certifying one or more Classes as defined above;
 9          B. appoint Plaintiffs Ji Chang Son, Ghodrat Khansari, Madhusudhana Shastrula,
10              Ali Jarrahi, Michael Tomko, Kenneth Helman, and Bridgette Waldemar as the
11              representatives of the Class(es) and their counsel as Class counsel;
12          C. award all actual, general, special, incidental, statutory, punitive, and
13              consequential damages and restitution to which Plaintiffs and the Class
14              Members are entitled;
15          D. award pre-judgment and post-judgment interest on such monetary relief;
16          E. grant appropriate injunctive and/or declaratory relief, including, without
17              limitation, an order that requires Tesla to repair, recall, and/or replace the
18              Model S and Model X vehicles and to extend the applicable warranties to a
19              reasonable period of time, or, at a minimum, to provide Plaintiffs and Class
20              Members with appropriate curative notice regarding the existence and cause of
21              sudden unintended acceleration;
22          F. award reasonable attorneys’ fees and costs; and
23          G. grant such further relief that this Court deems appropriate.
24    Dated: June 27, 2017                    Respectfully submitted,
25
26                                            By:    /s/ Richard D. McCune
                                                     Richard D. McCune
27                                                   MCCUNE WRIGHT AREVALO, LLP
                                                     Attorneys for Plaintiffs
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 1                                        JURY DEMAND
 2         Plaintiffs demand a trial by jury on all issues so triable.
 3    Dated: June 27, 2017                   By:    /s/ Richard D. McCune
 4                                                  Richard D. McCune
                                                    MCCUNE WRIGHT AREVALO, LLP
 5                                                  Attorneys for Plaintiffs
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